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                           Exhibit 2
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    Effective date of this Endorsement: 11-Nov-2018
    This Endorsement is attached to and forms a part of Policy Number: W20D68180201
    Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the "Insurer" or the
    "Underwriters"




                                    FRONT PAGE TO POLICY



                              IMPORTANT NOTICE - FLORIDA

    SURPLUS LINES INSURERS' POLICY RATES AND FORMS ARE NOT
    APPROVED BY ANY FLORIDA REGULATORY AGENCY.




     BSLMU05120809FL                                                                       Page 1 of 1




                                                                                                INT_BOJ_0000565
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    BEAZLEY BREACH RESPONSE
    THIS POLICY'S LIABILITY INSURING AGREEMENTS PROVIDE COVERAGE ON A CLAIMS MADE
    AND REPORTED BASIS AND APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED
    DURING THE POLICY PERIOD OR THE OPTIONAL EXTENSION PERIOD (IF APPLICABLE) AND
    REPORTED TO THE UNDERWRITERS IN ACCORDANCE WITH THE TERMS OF THIS POLICY.
    AMOUNTS INCURRED AS CLAIMS EXPENSES UNDER THIS POLICY WILL REDUCE AND MAY
    EXHAUST THE LIMIT OF LIABILITY AND ARE SUBJECT TO RETENTIONS.

    These Declarations along with the statements contained in the information and materials provided to the
    Underwriters in connection with the underwriting and issuance of this Policy, and the Policy with
    endorsements shall constitute the contract between the Insureds and the Underwriters.


                                          GENERAL INFORMATION

    Underwriters:                         Syndicate 2623/623 at Lloyd's.

    Named Insured:                        OJ Commerce LLC OJ Commerce Inc dba Naomi Home WSports

    Named Insured Address:                1700 Northwest 64th Street
                                          Suite 460
                                          Fort Lauderdale, FL 33309

    Notice of Claim, Loss                 Beazley Group
    or Circumstance:                      Attn: TMB Claims Group
                                          1270 Avenue of the Americas, 12th Floor
                                          New York, NY 10020

    Breach Response                       bbr.clairnspbeazley.com
    Services Team:                        (866) 567-8570 (24 Hours)

    Administrative Notice:                Beazley USA Services, Inc.
                                          30 Batterson Park Road
                                          Farmington, CT 06032
                                          Tel: (860) 677-3700
                                          Fax: (860) 679-0247




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    Date Issued: 10-Oct-2018 2:43:22 PM




                                                                                                   INT_BOJ_0000566
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                                           POLICY INFORMATION

    Policy Number:                        VV20D68180201

    Authority Reference Number:           B6012BUSANMSL1801

    Policy Period:                        From: 11-Nov-2018               To: 11-Nov-2019
                                          Both at 12:01 a.m. Local Time at the Named Insured Address

    Premium:                              $17,460
                                          Taxes & Surcharges (if applicable)

    Policy Form:                          Beazley Breach Response (F00653 112017 ed.) with
                                          BBR Information Pack
    Optional Extension Period:            12 Months
    Optional Extension Premium:           100% of the Annual Policy Premium
    Notified Individuals Threshold:       100 Notified Individuals

    Waiting Period:                       10 Hours

    Continuity Date:                      01-Nov-2017




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                                           COVERAGE SCHEDULE (Currency in USD)
                                                                 Limit                            Retention

     Breach Response
     Notified Individuals:                                     1,000,000

     Legal, Forensic & Public Relations/Crisis Management:     $2,000,000                           $10,000;
                                                                                         but $5,000 for Legal
          THE BREACH RESPONSE LIMITS ABOVE ARE IN ADDITION TO THE POLICY AGGREGATE LIMIT OF LIABILITY

     Policy Aggregate Limit of Liability:                       $3,000,000

     Additional Breach Response Limit

     Additional Breach Response Limit:                         $3,000,000

     First Party Loss

     Business Interruption Loss:

         Resulting from Security Breach:                       $3,000,000              each incident $25,000
         Resulting from System Failure:                        $3,000,000              each incident $25,000


     Dependent Business Loss:

       Resulting from Dependent Security Breach:               $1,000,000              each incident $25,000
       Resulting from Dependent System Failure:                $1,000,000              each incident $25,000
     Cyber Extortion Loss:                                     $3,000,000              each incident $25,000
     Data Recovery Costs:                                      $3,000,000              each incident $25,000

     Liability

     Data & Network Liability:                                 $3,000,000                each Claim $25,000
     Regulatory Defense & Penalties:                           $3,000,000                each Claim $25,000
     Payment Card Liabilities & Costs:                         $3,000,000                each Claim $25,000
     Media Liability:                                          $3,000,000                each Claim $25,000

     eCrime
     Fraudulent Instruction:                                   $100,000                   each loss $25,000
     Funds Transfer Fraud:                                     $100,000                   each loss $25,000
     Telephone Fraud:                                          $100,000                   each loss $25,000

     Criminal Reward

     Criminal Reward:                                          $50,000




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                                                                                                     INT_BOJ_0000568
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                                    ENDORSEMENTS EFFECTIVE AT INCEPTION

          1.    E10595 112017 ed.             Asbestos, Pollution, and Contamination Exclusion Endorsement
          2.    E11122 012018 ed.             Cap on Losses Arising Out of Certified Acts of Terrorism
          3.    E10596 112017 ed.             Choice of Law and Service of Suit
          4.    BSLMU05120809FL               Important Notice - Florida
          5.    SCHEDULE2018                  Lloyd's Security Schedule 2018
          6.    NMA1256                       Nuclear Incident Exclusion Clause-Liability-Direct (Broad)
                                              (U.S.A.)
          7.    E06928 042015 ed.             Policyholder Disclosure Notice of Terrorism Insurance Coverage
          8.    NMA1477                       Radioactive Contamination Exclusion Clause-Liability-Direct
                                              (U.S.A.)
          9.    E02804 032011 ed.             Sanction Limitation and Exclusion Clause
          10.   E10602 112017 ed.             War and Civil War Exclusion
          11.   E11294 032018 ed.             Amend Data Recovery Costs
          12.   E06799 112017 ed.             Amend Definition of Fraudulent Instruction
          13.   E06798 112017 ed.             Consequential Reputational Loss
          14.   E11290 032018 ed.             GDPR Cyber Endorsement
          15.   BSLMUNMA2868                  Lloyd's Certificate - No policy language
          16.   E10944 122017 ed.             Post Breach Remedial Services Endorsement
          17.   E11204 052018 ed.             Amendatory Endorsement


    Dated:       10-Oct-2018

    At:          30 Batterson Park Road
                 Farmington
                 Connecticut 06032
                 (the office of the Correspondent)       by
                                                              Beazley USA Services, Inc. (Correspondent)




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                                                                                                           INT_BOJ_0000569
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    Effective date of this Endorsement: 11-Nov-2018
    This Endorsement is attached to and forms a part of Policy Number: W20D68180201
    Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
    "Underwriters"

              ASBESTOS. POLLUTION. AND CONTAMINATION EXCLUSION ENDORSEMENT

    This endorsement modifies insurance provided under the following:
    BEAZLEY BREACH RESPONSE
    In consideration of the premium charged for the Policy, it is hereby understood and agreed that the
    coverage under this Policy will not apply to any Loss arising out of either in whole or in part, directly or
    indirectly arising out of or resulting from or in consequence of, or in any way involving:
    1.      asbestos, or any materials containing asbestos in whatever form or quantity;
    2.      the actual, potential, alleged or threatened formation, growth, presence, release or dispersal of
            any fungi, molds, spores or mycotoxins of any kind; any action taken by any party in response to
            the actual, potential, alleged or threatened formation, growth, presence, release or dispersal of
            fungi, molds, spores or mycotoxins of any kind, such action to include investigating, testing for,
            detection of, monitoring of, treating, remediating or removing such fungi, molds, spores or
            mycotoxins; and any governmental or regulatory order, requirement, directive, mandate or decree
            that any party take action in response to the actual, potential, alleged or threatened formation,
            growth, presence, release or dispersal of fungi, molds, spores or mycotoxins of any kind, such
            action to include investigating, testing for, detection of, monitoring of, treating, remediating or
            removing such fungi, molds, spores or mycotoxins;
            The Underwriters will have no duty or obligation to defend any Insured with respect to any Claim
            or governmental or regulatory order, requirement, directive, mandate or decree which either in
            whole or in part, directly or indirectly, arises out of or results from or in consequence of, or in any
            way involves the actual, potential, alleged or threatened formation, growth, presence, release or
            dispersal of any fungi, molds, spores or mycotoxins of any kind;
    3.      the existence, emission or discharge of any electromagnetic field, electromagnetic radiation or
            electromagnetism that actually or allegedly affects the health, safety or condition of any person or
            the environment, or that affects the value, marketability, condition or use of any property; or
    4.      the actual, alleged or threatened discharge, dispersal, release or escape of Pollutants; or any
            governmental, judicial or regulatory directive or request that the Insured or anyone acting under
            the direction or control of the Insured test for, monitor, clean up, remove, contain, treat, detoxify
            or neutralize Pollutants. Pollutants means any solid, liquid, gaseous or thermal irritant or
            contaminant including gas, acids, alkalis, chemicals, heat, smoke, vapor, soot, fumes or waste.
            Waste includes but is not limited to materials to be recycled, reconditioned or reclaimed.



    All other terms and conditions of this Policy remain unchanged.




                                                                    Authorizied Representative




     E10595                                                                                          Page 1 of 1
     112017 ed.


                                                                                                          INT_BOJ_0000570
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    Effective date of this Endorsement: 11-Nov-2018
    This Endorsement is attached to and forms a part of Policy Number: W20D68180201
    Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the "Insurer" or the
    "Underwriters"

                    CAP ON LOSSES ARISING OUT OF CERTIFIED ACT OF TERRORISM

    This endorsement modifies insurance provided under the following:

    BEAZLEY BREACH RESPONSE


        A. If aggregate insured losses attributable to "Certified Acts of Terrorism" exceed $100,000,000,000
           in a calendar year and the Underwriters meet the applicable insurer deductible under the
           Terrorism Risk Insurance Act, the Underwriters are not liable for the payment of any portion of the
           amount of the losses exceeding $100,000,000,000. Insured losses up to that amount are subject
           to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.

        B. As used in this endorsement, "Certified Act of Terrorism" means any act that is certified by the
           Secretary of the Treasury, in consultation with the Secretary of Homeland Security and the
           Attorney General of the United States, to be an act of terrorism; to be a violent act or an act that
           is dangerous to human life, property, or infrastructure; to have resulted in damage within the
           United States, or outside the United States in the case of an air carrier or vessel or the premises
           of a United States mission; and to have been committed by an individual or individuals, as part of
           an effort to coerce the civilian population of the United States or to influence the policy or affect
           the conduct of the United States Government by coercion.

        C. Terrorism exclusions, or the inapplicability or omission of a terrorism exclusion, do not create
           coverage for injury or damage otherwise excluded under this Policy.


    All other terms, exclusions and conditions of the policy remain unchanged.




                                                                   Authorized Representative




     E11122                                                                                        Page 1 of 1
     012018 ed.


                                                                                                         INT_BOL0000571
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    Effective date of this Endorsement: 11-Nov-2018
    This Endorsement is attached to and forms a part of Policy Number: W20D68180201
    Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
    "Underwriters"

                                   CHOICE OF LAW AND SERVICE OF SUIT

    This endorsement modifies insurance provided under the following:
    BEAZLEY BREACH RESPONSE
    In consideration of the premium charged for the Policy, it is hereby understood and agreed that
    GENERAL CONDITIONS is amended to include:
    Service of Suit
            It is agreed that in the event of the Underwriters' failure to pay any amount claimed to be due
            under this Insurance, the Underwriters will, at the Insured's request, submit to the jurisdiction of
            a court of competent jurisdiction within the United States. Nothing in this provision constitutes or
            should be understood to constitute a waiver of the Underwriters' rights to commence an action in
            any court of competent jurisdiction in the United States, to remove an action to a United States
            District Court, or seek a transfer of a case to another court as permitted by the laws of the United
            States or any state in the United States. It is further agreed that service of processing such suit
            may be made upon the Underwriters' representative:

                       Mendes & Mount, 750 Seventh Avenue, New York, NY 10019-6829

            and that in any suit instituted against any one of them upon this contract, the Underwriters will
            abide by the final decision of such court or of any appellate court in the event of an appeal.
            The person or entity named above is authorized and directed to accept service of process on the
            Underwriters' behalf in any such suit and/or upon the Insured's request to give a written
            undertaking to the Insured that they will enter a general appearance upon the Underwriters'
            behalf in the event such a suit shall be instituted.
            Pursuant to any statute of any state, territory, or district of the United States which makes
            provision therefore, the Underwriters hereby designate the Superintendent, Commissioner, or
            Director of Insurance or other officer specified for that purpose in the statute, or his successor in
            office, as their true and lawful attorney upon whom may be served any lawful process in any
            action, suit, or proceeding instituted by or on the Insured's behalf or any beneficiary hereunder
            arising out of this Policy, and hereby designate the person or entity named above as the persons
            to whom said officer is authorized to mail such process or a true copy thereof.
    Choice of Law
            Any disputes involving this Policy will be resolved applying the law of the state of New York.

    All other terms and conditions of this Policy remain unchanged.



                                                                   Authori d Representative




     E10596                                                                                        Page 1 of 1
     112017 ed.


                                                                                                         INT_BOJ_0000572
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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20068180201
     Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

     LLOYD'S SECURITY SCHEDULE

     Syndicate 2623         82%
     Syndicate 623          18%


     ALL OTHER TERMS, conditions and limitations of said Certificate shall remain unchanged.




      SCHEDULE2018                                                                             Page 1 of 1




                                                                                                    INT_BOJ_0000573
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       Effective date of this Endorsement: 11-Nov-2018
       This Endorsement is attached to and forms a part of Policy Number: W20D68180201


             NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

       BEAZLEY BREACH RESPONSE

       For attachment to insurances of the following classifications in the U.S.A., its Territories and
       Possessions, Puerto Rico and the Canal Zone:

       Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners or
       Contractors (including railroad) Protective Liability, Manufacturers and Contractors Liability,
       Product Liability, Professional and Malpractice Liability, Storekeepers Liability, Garage Liability,
       Automobile Liability (including Massachusetts Motor Vehicle or Garage Liability),
       not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
       Liability-Direct (Limited) applies.
       This Policy* does not apply:

       1.      Under any Liability Coverage, to injury, sickness, disease, death or destruction:

               (a)    with respect to which an insured under the Policy is also an insured under a
                      nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                      Association, Mutual Atomic Energy Liability Underwriters or Nuclear Insurance
                      Association of Canada, or would be an insured under any such policy but for its
                      termination upon exhaustion of its limit of liability; or
               (b)      resulting from the hazardous properties of nuclear material and with respect to
                      which (1) any person or organization is required to maintain financial protection
                      pursuant to the Atomic Energy Act of 1954, or any law amendatory thereof, or (2)
                      the insured is, or had this Policy not been issued would be, entitled to indemnity
                      from the United States of America, or any agency thereof, under any agreement
                      entered into by the United States of America, or any agency thereof, with any
                      person or organization.

       II.     Under any Medical Payments Coverage, or under any Supplementary Payments
               Provision relating to immediate medical or surgical relief, to expenses incurred with
               respect to bodily injury, sickness, disease or death resulting from the hazardous
               properties of nuclear material and arising out of the operation of a nuclear facility by any
               person or organization.

               Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting
               from the hazardous properties of nuclear material, if:

               (a)   the nuclear material (1) is at any nuclear facility owned by, or operated by or on
                     behalf of, an insured or (2) has been discharged or dispersed therefrom;

               (b)    the nuclear material is contained in spent fuel or waste at any time possessed,
                     handled, used, processed, stored, transported or disposed of by or on behalf of
                     an insured; or

               (c)   the injury, sickness, disease, death or destruction arises out of the furnishing by
                     an insured of services, materials, parts or equipment in connection with the
                     planning, construction, maintenance, operation or use of any nuclear facility, but
                     if such facility is located within the United States of America, its territories or


     NMA1256                                                                                       Page 1 of 2




                                                                                                        INT_BOJ_0000574
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                      possessions or Canada, this exclusion (c) applies only to injury to or destruction of
                      property at such nuclear facility.

        IV.     As used in this endorsement:

                "hazardous properties" include radioactive, toxic or explosive properties:

                "nuclear material" means source material, special nuclear material or by-product material:

                "source material", "special nuclear material", and "by-product material" have the
                meanings given them in the Atomic Energy Act 1954 or in any law amendatory thereof;

                "spent fuel" means any fuel element or fuel component, solid or liquid, which has been
                used or exposed to radiation in a nuclear reactor;

                "waste" means any waste material (1) containing by-product material and (2) resulting
                from the operation by any person or organization of any nuclear facility included within
                the definition of nuclear facility under paragraph (a) or (b) thereof;

                "nuclear facility" means:
                (a)     any nuclear reactor,
                (b)     any equipment or device designed or used for (1) separating the isotopes of
                        uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                        processing or packaging waste,
                (C)     any equipment or device used for the processing, fabricating or alloying of
                        special nuclear material if at any time the total amount of such material in the
                        custody of the insured at the premises where such equipment or device is
                        located consists of or contains more than 25 grams of plutonium or uranium 233
                        or any combination thereof, or more than 250 grams of uranium 235,
                (d)     any structure, basin, excavation, premises or place prepared or used for the
                        storage or disposal of waste,
               and includes the site on which any of the foregoing is located, all operations conducted on
               such site and all premises used for such operations; "nuclear reactor" means any
               apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
               or to contain a critical mass of fissionable material. With respect to injury to or
               destruction of property, the word "injury" or "destruction" includes all forms of radioactive
               contamination of property.
               It is understood and agreed that, except as specifically provided in the foregoing to the
               contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
               Policy to which it is attached.
     * NOTE: As respects policies which afford liability coverages and other forms of coverage in
     addition, the words underlined should be amended to designate the liability coverage to which this
     clause is to apply.




     NMA1256                                                                                      Page 2 of 2




                                                                                                        INT_BOJ_0000575
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    Effective date of this Endorsement: 11-Nov-2018
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    Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
    "Underwriters"


                              POLICYHOLDER DISCLOSURE NOTICE OF
                                TERRORISM INSURANCE COVERAGE

    You are hereby notified that under the Terrorism Risk Insurance Act of 2002, as amended ("TRIA"),
    insurance coverage provided by this Policy includes losses arising out of acts of terrorism, as defined
     in Section 102(1) of the Act, as amended: The term "act of terrorism" means any act that is certified
    by the Secretary of the Treasury, in consultation with the Secretary of Homeland Security and the
    Attorney General of the United States, to be an act of terrorism; to be a violent act or an act that is
    dangerous to human life, property, or infrastructure; to have resulted in damage within the United
    States, or outside the United States in the case of an air carrier or vessel or the premises of a United
    States mission; and to have been committed by an individual or individuals, as part of an effort to
    coerce the civilian population of the United States or to influence the policy or affect the conduct of the
    United States Government by coercion. Any coverage you purchase for "acts of terrorism" shall expire
    at 12:00 midnight December 31, 2020, the date on which the TRIA Program is scheduled to
    terminate, or the expiry date of the policy whichever occurs first, and shall not cover any losses
    or events which arise after the earlier of these dates.

    YOU SHOULD KNOW THAT COVERAGE PROVIDED BY THIS POLICY FOR LOSSES CAUSED
    BY CERTIFIED ACTS OF TERRORISM IS PARTIALLY REIMBURSED BY THE UNITED STATES
    UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY
    CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN
    EXCLUSION FOR NUCLEAR EVENTS. UNDER THIS FORMULA, THE UNITED STATES PAYS
    85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON JANUARY 1,
    2017; 82% BEGINNING ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 AND 80%
    BEGINNING ON JANUARY 1, 2020; OF COVERED TERRORISM LOSSES EXCEEDING THE
    STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE INSURER(S) PROVIDING THE
    COVERAGE. YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS
    AMENDED, CONTAINS A USD100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
    REIMBURSEMENT AS WELL AS INSURERS' LIABILITY FOR LOSSES RESULTING FROM
    CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE
    CALENDAR YEAR EXCEEDS USD100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR
    ALL INSURERS EXCEED USD100 BILLION, YOUR COVERAGE MAY BE REDUCED.


     (LMA 9104 amended)




     E06928                                                                                          Page 1 of 1
     042015 ed.


                                                                                                           INT_BOJ_0000576
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       Effective date of this Endorsement: 11-Nov-2018
       This Endorsement is attached to and forms a part of Policy Number: W20D68180201


           RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)



       For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-Direct)
       to liability insurances affording worldwide coverage.

       In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or the
       Canal Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly
       caused by or contributed to by or arising from ionising radiations or contamination by radioactivity
       from any nuclear fuel or from any nuclear waste from the combustion of nuclear fuel.




     13/2/64                                                                                        Page 1 of 1
     NMA1477


                                                                                                          INT_BOJ_0000577
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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. Referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                              SANCTION LIMITATION AND EXCLUSION CLAUSE

     This endorsement modifies insurance provided under the following:


     BEAZLEY BREACH RESPONSE


    No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or
    provide any benefit hereunder to the extent that the provision of such cover, payment of such claim or
    provision of such benefit would expose that (re)insurer to any sanction, prohibition or restriction under
    United Nations resolutions or the trade or economic sanctions, law or regulations of the European Union,
    United Kingdom or United States of America.




     All other terms and conditions of this Policy remain unchanged.




                                                                  Authori   d Representative




     E02804                                                                                    Page 1 of 1
     032011 ed.


                                                                                                     INT_BOJ_0000578
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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                                        WAR AND CIVIL WAR EXCLUSION

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

    In consideration of the premium charged for the Policy, it is hereby understood and agreed that
    EXCLUSIONS is amended to include:

     War and Civil War

             For resulting from, directly or indirectly occasioned by, happening through or in consequence of:
             war, invasion, acts of foreign enemies, hostilities (whether war be declared or not), civil war,
             rebellion, revolution, insurrection, military or usurped power or confiscation or nationalization or
             requisition or destruction of or damage to property by or under the order of any government or
             public or local authority; provided, that this exclusion will not apply to Cyber Terrorism.

             For purposes of this exclusion, "Cyber Terrorism" means the premeditated use of disruptive
             activities, or threat to use disruptive activities, against a computer system or network with the
             intention to cause harm, further social, ideological, religious, political or similar objectives, or to
             intimidate any person(s) in furtherance of such objectives.




     All other terms and conditions of this Policy remain unchanged.




                                                                     Authorife'd Representative




     E10602                                                                                           Page 1 of 1
     112017 ed.


                                                                                                            INT_BOJ_0000579
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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                                       AMEND DATA RECOVERY COSTS

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

    In consideration of the premium charged for the Policy, it is hereby understood and agreed that the Data
    Recovery Costs insuring agreement is deleted in its entirety and replaced with the following:

    Data Recovery Costs

             Data Recovery Costs that the Insured Organization incurs as a direct result of a Security
             Breach or System Failure that the Insured first discovers during the Policy Period.




     All other terms and conditions of this Policy remain unchanged.




                                                                  Authori d Representative




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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                             AMEND DEFINITION OF FRAUDULENT INSTRUCTION

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that the
     definition of Fraudulent Instruction is deleted in its entirety and replaced with the following:

             Fraudulent Instruction means the transfer, payment or delivery of Money or Securities by an
             Insured as a result of fraudulent written, electronic, telegraphic, cable, teletype or telephone
             instructions provided by a third party, that is intended to mislead an Insured through the
             misrepresentation of a material fact which is relied upon in good faith by such Insured.

                   Fraudulent Instruction will not include loss arising out of:

                   1.    any actual or alleged use of credit, debit, charge, access, convenience, customer
                         identification or other cards;

                   2.    any transfer involving a third party who is not a natural person Insured, but had
                         authorized access to the Insured's authentication mechanism;

                   3.    the processing of, or the failure to process, credit, check, debit, personal identification
                         number debit, electronic benefit transfers or mobile payments for merchant accounts;

                   4.    accounting or arithmetical errors or omissions, or the failure, malfunction, inadequacy
                         or illegitimacy of any product or service;

                   5.    any liability to any third party, or any indirect or consequential loss of any kind;

                   6.    any legal costs or legal expenses; or

                   7.    proving or establishing the existence of Fraudulent Instruction.




     All other terms and conditions of this Policy remain unchanged.




                                                                     Authorized Representative




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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                                   CONSEQUENTIAL REPUTATIONAL LOSS

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that:

     1.      Limit listed in the Declarations under COVERAGE SCHEDULE is amended to include:

            Consequential Reputational Loss                                        USD $1,000,000


     2.      Retention listed in the Declarations under COVERAGE SCHEDULE is amended to include:

            Each incident giving rise to Consequential Reputational                 USD $25,000
            Loss

     3.      INSURING AGREEMENTS is amended by the addition of:

            Consequential Reputational Loss

                     to indemnify the Insured Organization for Consequential Reputational Loss, that the
                     Insured incurs during the Notification Period as a result of (i) an actual or reasonably
                     suspected Data Breach or Security Breach that the Insured first discovers during the
                     Policy Period and (ii) for which individuals have been notified pursuant to part 4. of the
                     Breach Response Services definition.

     4.      For purposes of this endorsement, DEFINITIONS is amended to include:

             Consequential Reputational Loss means the Income Loss during the Notification Period;
             provided that Consequential Reputational Loss shall not mean and no coverage shall be
             available under this endorsement for any of the following: loss arising out of any liability to any
             third party for whatever reason; legal costs or legal expenses of any type; loss incurred as a
             result of unfavorable business conditions, loss of market or any other consequential loss; or costs
             or expenses the Insured Organization incurs to identify, investigate, respond to or remediate an
             actual or reasonably suspected Data Breach or Security Breach.

             Income Loss means the net profit resulting directly from the Insured Organization's business
             operations, before income taxes, that the Insured Organization is prevented from earning as a
             direct result of damage to the Insured Organization's reputation caused by an actual or
             reasonably suspected Data Breach or Security Breach. In determining Income Loss, due
             consideration shall be given to the prior experience of the Insured Organization's business
             operations before the beginning of the Notification Period and to the reasonable and probable
             business operations the Insured Organization could have performed had the actual or
             reasonably suspected Data Breach or Security Breach not occurred.

                     Income Loss does not include any internal salary, costs or overhead expenses of the
                     Insured Organization.




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             Notification Period means the 30-day period that begins on the specific date on which Notified
             Individuals first receive notification of the incident for which Notification Services are provided.

     5.      Notice of Claim or Loss under GENERAL CONDITIONS is amended to include:

             With respect to Consequential Reputational Loss the Named Insured must notify the
             Underwriters through the contacts listed for Notice of Claim, Loss or Circumstance in the
             Declarations as soon as practicable after discovery of the circumstance, incident or event giving
             rise to such loss. The Named Insured will provide the Underwriters a proof of Consequential
             Reputational Loss. All loss described in this paragraph must be reported, and all proofs of loss
             must be provided, to the Underwriters no later than six (6) months after the end of the Policy
             Period. The costs and expenses of preparing and submitting a proof of loss, and establishing or
             proving Consequential Reputational Loss shall be the Insured's obligation, and are not
             covered under this Policy.




     All other terms and conditions of this Policy remain unchanged.




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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                                          GDPR CYBER ENDORSEMENT

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that the Data
     & Network Liability insuring agreement is amended to include:

     5.      non-compliance with the following obligations under the EU General Data Protection Regulation
             (or legislation in the relevant jurisdiction implementing this Regulation):

             (a)     Article 5.1(f), also known as the Security Principle;

             (b)     Article 32, Security of Processing;

             (0)     Article 33, Communication of a Personal Data Breach to the Supervisory Authority; or

             (d)     Article 34, Communication of a Personal Data Breach to the Data Subject.




     All other terms and conditions of this Policy remain unchanged.



                                                                     Authorized Representative




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                           Lloyd's
         ail   #0L




               fr    •
                           Certificate
                          This Insurance is effected with certain Underwriters at Lloyds,
                          London.



                          This Insurance              is issued in accordance with the limited
                          authorization granted to the Correspondent by certain Underwriters at
                          Lloyds, London whose syndicate numbers and the proportions underwritten
                          by them can be ascertained from the office of the said Correspondent (such
                          Underwriters being hereinafter called "Underwriters") and in consideration of
                          the premium specified herein, Underwriters hereby bind themselves severally
                          and not jointly, each for his own part and not one for another, their
                          Executors and Administrators.



                          The Insured          is requested to read their Policy, and if it is not
                          correct, return it immediately to the Correspondent for appropriate
                          alteration.

                          All inquiries regarding the Policy should be addressed to the following
                          Correspondent:

                          Beazley USA




      SLC-3 (USA) NMA2868 (24/08/2000) (amended)



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                                 LLOYD'S
                           One Lime Street London EC3M 7HA




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     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                            POST BREACH REMEDIAL SERVICES ENDORSEMENT

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

    In consideration of the premium charged for the Policy, it is hereby understood and agreed that, following
    a covered Data Breach or Security Breach involving the actual Unauthorized Access or Use of the
    Insured Organization's Computer Systems, the Insured Organization is eligible to receive Post
    Breach Remedial Services.

     Post Breach Remedial Services means up to 100 hours per Policy Period of post-breach computer
     security consultation and remedial services to be provided by Lodestone Security ("Lodestone"). Such
     services will be provided at the Insured Organization's request as per the description of services
     attached to this endorsement. Post Breach Remedial Services will be considered Breach Response
     Services, and will be available in response to incidents in which forensic services and costs covered
     under parts 2. and 3. of the definition of Breach Response Services have been provided, subject to the
     applicable Retention. Post Breach Remedial Services will not include any costs to purchase or upgrade
     any hardware or software.

    To access the Post Breach Remedial Services, the Insured Organization must notify the Underwriters,
    within sixty (60) days following a determination of the actual Unauthorized Access or Use of the
    Insured Organization's Computer Systems, that they desire to receive such services. To receive Post
    Breach Remedial Services, the Insured Organization will have to enter into an engagement agreement
    with Lodestone.




     All other terms and conditions of this Policy remain unchanged.




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                                                 CRC Insurance Services - Tampa, FL
     Effective date of this Endorsement: 11-Nov-2018
     This Endorsement is attached to and forms a part of Policy Number: W20D68180201
     Syndicate 2623/623 at Lloyd's. referred to in this endorsement as either the "Insurer" or the
     "Underwriters"

                                         AMENDATORY ENDORSEMENT

     This endorsement modifies insurance provided under the following:

     BEAZLEY BREACH RESPONSE

     In consideration of the premium charged for the Policy, it is hereby understood and agreed that:

     1.      Part 4. of the definition of Breach Response Services is deleted and replaced with the following:

                     4.       to notify those individuals whose Personally Identifiable Information was
                              potentially impacted by a Data Breach exceeding the Notified Individuals
                              Threshold, including notification to individuals where no obligation to notify
                              exists ("Voluntary Notification");

     2.      Part 1. of the definition of Claim is deleted and replaced with the following:

                     1.       a written demand received by any Insured for money or services, or any non-
                              monetary or injunctive relief, including the service of a suit or institution of
                              arbitration proceedings;

     3.      The definition of Claim is amended to include the following:

                     4.       a written request or agreement to toll or waive a statute of limitations relating to a
                              potential Claim described above;

     4.      The definition of Computer Systems is deleted in its entirety and replaced with the following:

             Computer Systems means computers, any software residing on such computers and any
             associated devices or equipment, including but not limited to wireless or mobile devices, data
             storage devices, networking equipment, and back up facilities:

                     1.       operated by and either owned by or leased to the Insured Organization; or

                     2.       with respect to coverage under the Breach Response and Liability insuring
                              agreements, operated by a third party pursuant to written contract with the
                              Insured Organization and used for the purpose of providing hosted computer
                              application services to the Insured Organization or for processing, maintaining,
                              hosting or storing the Insured Organization's electronic data.

     5.      Parts 2. and 3. of the definition of Insured are deleted in their entirety and replaced with the
             following:

                     2.       any director, officer or trustee of the Insured Organization, but only with respect
                              to the performance of his or her duties as such on behalf of the Insured
                              Organization;




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                    3.       An employee (including a part time, temporary, leased or seasonal employee or
                             volunteer), intern or Individual Contractor of the Insured Organization, but
                             only for work done while acting within the scope of his or her employment and
                             related to the conduct of the Insured Organization's business;

     6.     The definition of Media Liability is amended to include the following:

                    11.      negligence regarding the content of any Media Material, including harm caused
                             through any reliance or failure to rely upon such content;

     7.     Part 2. of the definition of Subsidiary is deleted in its entirety and replaced with the following:

                    2.       which the Named Insured acquires Management Control after the inception date of
                             this Policy; provided that:

                                     the revenues of such entity do not exceed 25% of the Named Insured's
                                     annual revenues; or

                             (ii)    if the revenues of such entity exceed 25% of the Named Insured's
                                     annual revenues, then coverage under this Policy will be afforded for a
                                     period of 60 days, but only for any Claim that arises out of any act, error,
                                     omission, incident or event first occurring after the entity becomes so
                                     owned. Coverage beyond such 60 day period will only be available if the
                                     Named Insured gives the Underwriters written notice of the acquisition,
                                     obtains the written consent of Underwriters to extend coverage to the
                                     entity beyond such 60 day period and agrees to pay any additional
                                     premium required by Underwriters.

     8.     RETENTIONS is amended by the addition of:

            Notwithstanding the foregoing, the Underwriters will recognize erosion of the Retention
            applicable to the Fraudulent Instruction insuring agreement by any payments made by or on
            behalf of the Insured Organization pursuant to such commercial crime policy issued to the
            Insured Organization, but only if such payments are for Loss that would otherwise be covered
            under the Fraudulent Instruction insuring agreement.

     9.     Settlement of Claims under GENERAL CONDITIONS is deleted in its entirety and replaced with
            the following:

            Settlement of Claims

            If the Insured refuses to consent to any settlement recommended by the Underwriters and
            acceptable to the claimant, the Underwriters' liability for such Claim will not exceed:

                    1.       the amount for which the Claim could have been settled, less the remaining
                             Retention, plus the Claims Expenses incurred up to the time of such refusal;
                             plus

                    2.       seventy percent (70%) of any Claims Expenses incurred after the date such
                             seftlement or compromise was recommended to the Insured plus seventy percent
                             (70%) of any Damages, Penalties and PCI Fines, Expenses and Costs above
                             the amount for which the Claim could have been settled;

            and the Underwriters will have the right to withdraw from the further defense of such Claim.




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             The Insured may settle any Claim where the Damages, Penalties. PCI Fines, Expenses and
             Costs and Claims Expenses do not exceed the Retention, provided that the entire Claim is
             resolved and the Insured obtains a full release on behalf of all Insureds from all claimants.

     10.     Other Insurance under GENERAL CONDITIONS is deleted in its entirety and replaced with the
             following:
             Other Insurance

             The insurance under this Policy shall apply in excess of any other valid and collectible insurance
             available to any Insured unless such other insurance is written only as specific excess insurance
             over this Policy; provided that this Policy shall be primary solely with respect to Breach
             Response Services under the Breach Response insuring agreement.

             The existence of other insurance available to an Insured shall not affect the Underwriters'
             obligations toward an Insured in paying Loss covered under this Policy nor shall it delay
             payment of such Loss.

             Notwithstanding the foregoing, this Policy will become primary and non-contributory insurance as
             respects any insurance maintained by an Additional Insured if primary insurance is required by
             a contract in place between the Additional Insured and the Insured Organization, but only with
             respect to a Claim or Loss arising solely from the Insured Organization's negligent acts, errors
             or omissions while performing services for. or on behalf of, an Additional Insured. In all other
             cases, this Insurance shall apply in excess of any other valid and collectible insurance available
             to any Insured.

     11.     Mergers and Consolidations under GENERAL CONDITIONS is amended by the addition of:

            If during the Policy Period the Named Insured sells any Subsidiary, then this Policy will
            continue to remain in effect with respect to such Subsidiary through the end of the Policy
            Period, but only with respect to events, acts or incidents that occur prior to the effective date of
            such sale. There will be no coverage provided by this Policy for any other Claim or Loss relating
            to such Subsidiary unless the Named Insured provides written notice to the Underwriters prior
            to such sale.



     All other terms and conditions of this Policy remain unchanged.




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                                      REMEDIATION SERVICES
                                                                                               Lodestone
                                     An attack occurred, it was contained and a response plan was activated—
                                     what's next?

                                     The inevitable happened, the organization is recovering
                                     and security resources are stretched thin. It's now time to
                                     get focused, not only on what occurred but how to limit further
                                     exposure and get back to business. Post-breach remediation is
                                     the first, next step.
                                     Security expertise and guidance when it's needed most
                                     After a breach, clients need the advice of an experienced team that's been through
                                     this time and again to help them identify and close critical gaps, develop an
                                     enhanced security program, and get back to business — quickly. Lodestone
                                     provides immediate and experienced resources to help minimize exposure when
                                     clients are acutely vulnerable.

                                     Following a thorough forensic investigation, Lodestone delivers a tailored, point-
                                     by-point approach and the guidance to formulate a post-breach remediation
                                     strategy. Our systematic process begins with a thorough Assessment of a client's
                                     existing security program to identify vulnerabilities and critical gaps, and to get a
                                     clear view of their readiness for potential attacks. It continues with a Definition of
                                     an enhanced strategy, posture and roadmap. And culminates with the proper
                                     Deployment of resources aligned to key security priorities. Central to this strategy
                                     is Lodestone's ability to customize the strategy to a client's unique risk profile,
                                     security capability and resources.

       Assessment                                    Definition                                Deployment

       Identify sensitive information assets,         Define ideal security posture in          Governance and Program Management —
       and highest risks                              three key areas and develop               Ensure security organization has defined
        Examine existing security                     strategic recommendations:                governance structure
        organization, structure and capability           People--articulate the needed          Risk Management — Ensure processes are
        Assess quality of policies, standards            organizational structure and           optimized so business risks are understood,
        and procedures                                   the required skills and abilities      evaluated, treated, and reported
                                                         of responsible parties                 Technology -- Ensure network security
        Develop threat model of existing
        technical infrastructure                         Process: detail security               capabilities;intrusion protection, database
                                                         requirements, define                   and storage security; encrypyion malware,
        Conduct vulnerability assessment of              standards, policies, procedures        meet or exceed industry best practices
        networks, applications, mobile, cloud and        and controls including
        high-risk infrastructure                                                                Data — Recommend secure file
                                                         Governance Risk, and                   transfer/sharing, enterprise encryption, and
        Analyze incident response program                Compliance (GRC)                       data leakage protection enhancements
        governance and key perfomrance                   Technology: define appropriate
        metrics                                                                                 Process — Mature process around Identity
                                                         architecture, tools, and               and Access Management, Threat and
       Review cyber security program                     applications to safeguard              Vulnerability Management, Incident
       governance and key performance metrics            against future risks and threats       Response, Third-party Risk Management,
                                                                                                Information Asset Management and Secure
                                                                                                SDLC
                                                                                                People — Security awareness and training




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     Understanding the vulnerabilities of small and mid-size companies,
     Lodestone is well equipped to evaluate a company's security posture
     and develop a targeted strategy to address its crucial issues.

     External Vulnerability Posture Improvement                                   Application Security Posture Improvement
     We combine automated scanning with manual                                    Lodestone conducts a review of the security of the
     assessment techniques to evaluate the security of                            client's target applications, assessing the
     internet exposed network devices and servers— a                              infrastructure, configuration, input handling,
     common point of entry for attackers including VPN and                        application logic, and security controls in place. This
     Remote access systems.                                                       review is performed against applications built in-house
                                                                                  by the client, as well as current or potential 3rd party
     Activities include: host discovery, host enumeration,
     scanning for network and basic web application                               vendor services and applications. We look for
                                                                                  vulnerabilities that could give an attacker access to the
     vulnerabilities, and manual verification of results.
                                                                                  data the application protects, or the system it is hosted
     Insider Threat Posture Improvement                                           on. Lodestones' collective experience covers a wide
     Working from inside your network, we conduct an                              variety of environments, including Web apps &
     internal vulnerability assessment and recommend                              services, Android & iOS apps, Binary applications,
     improvements to the security of network devices and                          through Embedded and Internet of Things (loT).
     servers including network architecture, firewall, host
                                                                                  Application Security Program Improvement
     configuration, application servers, and databases.
                                                                                  Lodestone evaluates the maturity of the existing
     Vulnerability Management Program Improvement                                 application SDLC and works with your organization to
     We assess a client's existing vulnerability management                       determine the target state using an industry standard
     program and make recommendations for establishing                            security program maturity model. This includes
     appropriate people, process, and technology resources.                       security practices within Governance, Construction,
     Security Awareness Program Improvement (Social                               Verification, and Deployment of your Application
     Engineering/Phishing)                                                        Development program. We develop an executive
     Many breaches are the result of weak passwords or                            roadmap, CISO roadmap, and Project roadmap.
     social engineering vulnerabilities such as, conveying                        Incident Response Program Improvement
     sensitive information by telephone, complying with                           We review current organization, documentation,
     phishing email instructions, or using USB devices                            methodology, and technical capabilities to determine
     infected with malware. Lodestone helps create security                       strengths, weaknesses, and steps required to improve
     awareness and training to educate end-users on the                           the organization's ability to respond to computer
     threats from common activities they perform.                                 security incidents. We design, develop or refine
     Wireless Security Posture Improvement                                        governance, skills, process and technology an
     We review wireless networks for exposure and                                 organization uses to respond to computer security
     vulnerability and make recommendations to enhance                            incidents with the goal of improving your
     the wireless security posture. For example, we                               organization's incident response practices.
     determine how far the wireless signal propagates,                            Policy, Procedure and Standards Improvement
     whether rogue access points exist, if secure encryption                      We evaluate and make recommendations to improve
     is in use and if appropriate authentication mechanisms                       the effectiveness of existing policies and/or develop
     are in place.                                                                enhanced security policies with established security
                                                                                  guidelines. We apply best practices consistent with
                                                                                  standards; such as, Payment Card Industry Data
                                                                                  Security Standard (PCI-DSS), Health Insurance
                                                                                  Portability and Accountability Act (HIPAA), Gramm
                                                                                  Leach Bliley (GLB), National Institute of Standards and
                                                                                  Technology (NIST) and International Organization for
                                                                                  Standardization (ISO) 27001/27002.


                                                                                                          263 Tresser Boulevard
     Lodestone Security is a wholly -owned subsidiary of Beazley plc. Lodestone provides
     computer security and cyber security services. Lodestone does not provide insurance                  9th floor, Suite 959
     services and client information obtained by Lodestone is not shared with Beazley claims              Stamford, CT 06901
     or underwriting. Likewise, client information obtained by Beazley claims or underwriting
     is not shared with Lodestone.                                                                        www.lodestonesecurity.com




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     BEAZLEY BREACH RESPONSE
    THIS POLICY'S LIABILITY INSURING AGREEMENTS PROVIDE COVERAGE ON A CLAIMS MADE
    AND REPORTED BASIS AND APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED
    DURING THE POLICY PERIOD OR THE OPTIONAL EXTENSION PERIOD (IF APPLICABLE) AND
    REPORTED TO THE UNDERWRITERS IN ACCORDANCE WITH THE TERMS OF THIS POLICY.
    AMOUNTS INCURRED AS CLAIMS EXPENSES UNDER THIS POLICY WILL REDUCE AND MAY
    EXHAUST THE LIMIT OF LIABILITY AND ARE SUBJECT TO RETENTIONS.

    Please refer to the Declarations, which show the insuring agreements that the Named Insured
    purchased. If an insuring agreement has not been purchased, coverage under that insuring agreement of
    this Policy will not apply.

     The Underwriters agree with the Named Insured, in consideration of the payment of the premium and
     reliance upon the statements contained in the information and materials provided to the Underwriters in
     connection with the underwriting and issuance of this Insurance Policy (hereinafter referred to as the
     "Policy") and subject to all the provisions, terms and conditions of this Policy:

    INSURING AGREEMENTS

            Breach Response

                   To provide Breach Response Services to the Insured Organization because of an actual
                   or reasonably suspected Data Breach or Security Breach that the Insured first discovers
                   during the Policy Period.

            First Party Loss

                   To indemnify the Insured Organization for:

                   Business Interruption Loss

                       Business Interruption Loss that the Insured Organization sustains as a result of a
                       Security Breach or System Failure that the Insured first discovers during the Policy
                       Period.

                   Dependent Business Interruption Loss

                      Dependent Business Loss that the Insured Organization sustains as a result of a
                      Dependent Security Breach or a Dependent System Failure that the Insured first
                      discovers during the Policy Period.

                   Cyber Extortion Loss

                       Cyber Extortion Loss that the Insured Organization incurs as a result of an Extortion
                       Threat first made against the Insured Organization during the Policy Period.

                   Data Recovery Costs

                       Data Recovery Costs that the Insured Organization incurs as a direct result of a
                       Security Breach that the Insured first discovers during the Policy Period.




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           Liability

                  Data & Network Liability

                      To pay Damages and Claims Expenses, which the Insured is legally obligated to pay
                      because of any Claim first made against any Insured during the Policy Period for:

                      1.      a Data Breach;

                      2.      a Security Breach:

                      3.      the Insured Organization's failure to timely disclose a Data Breach or Security
                              Breach;

                      4.      failure by the Insured to comply with that part of a Privacy Policy that
                              specifically:

                              (a)     prohibits or restricts the Insured Organization's disclosure, sharing or
                                      selling of Personally Identifiable Information;

                              (b)     requires the Insured Organization to provide an individual access to
                                      Personally Identifiable Information or to correct incomplete or
                                      inaccurate Personally Identifiable Information after a request is made;
                                      or

                              (c)     mandates procedures and requirements to prevent the loss of
                                      Personally Identifiable Information;

                              provided the Insured Organization has in force, at the time of such failure, a
                              Privacy Policy that addresses those subsections above that are relevant to such
                              Claim.

                  Regulatory Defense & Penalties

                      To pay Penalties and Claims Expenses, which the Insured is legally obligated to pay
                      because of a Regulatory Proceeding first made against any Insured during the Policy
                      Period for a Data Breach or a Security Breach.

                  Payment Card Liabilities & Costs

                      To indemnify the Insured Organization for PCI Fines, Expenses and Costs which it is
                      legally obligated to pay because of a Claim first made against any Insured during the
                      Policy Period.

                  Media Liability

                      To pay Damages and Claims Expenses, which the Insured is legally obligated to pay
                      because of any Claim first made against any Insured during the Policy Period for Media
                      Liability.

           eCrime

                  To indemnify the Insured Organization for any direct financial loss sustained resulting from:

                  1. Fraudulent Instruction;


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                  2. Funds Transfer Fraud; or

                  3.   Telephone Fraud;

                  that the Insured first discovers during the Policy Period.

           Criminal Reward

                  To indemnify the Insured Organization for Criminal Reward Funds.

    DEFINITIONS

           Additional Insured means any person or entity that the Insured Organization has agreed in
           writing to add as an Additional Insured under this Policy prior to the commission of any act for
           which such person or entity would be provided coverage under this Policy, but only to the extent
           the Insured Organization would have been liable and coverage would have been afforded under
           the terms and conditions of this Policy had such Claim been made against the Insured
           Organization.

           Breach Notice Law means any statute or regulation that requires notice to persons whose
           personal information was accessed or reasonably may have been accessed by an unauthorized
           person. Breach Notice Law also includes any statute or regulation requiring notice of a Data
           Breach to be provided to governmental or regulatory authorities.

           Breach Response Services means the following fees and costs in response to an actual or
           reasonably suspected Data Breach or Security Breach:

                  1      for an attorney to provide necessary legal advice to the Insured Organization to
                         evaluate its obligations pursuant to Breach Notice Laws or a Merchant Services
                         Agreement and in connection with providing the Breach Response Services
                         described below;

                  2      for a computer security expert to determine the existence, cause and scope of an
                         actual or reasonably suspected Data Breach, and if such Data Breach is actively in
                         progress on the Insured Organization's Computer Systems, to assist in containing
                         it;

                  3.     for a PCI Forensic Investigator to investigate the existence and extent of an actual or
                         reasonably suspected Data Breach involving payment card data and for a Qualified
                         Security Assessor to certify and assist in attesting to the Insured Organization's PCI
                         compliance, as required by a Merchant Services Agreement;

                  4.     to notify those individuals whose Personally Identifiable Information was potentially
                         impacted by a Data Breach exceeding the Notified Individuals Threshold;

                  5.     to provide a call center to respond to inquiries about a Data Breach that exceeds the
                         Notified Individuals Threshold;

                  6.     to provide a credit monitoring, identity monitoring or other solution listed in the
                         Information Packet to individuals whose Personally Identifiable Information was
                         potentially impacted by a Data Breach exceeding the Notified Individuals
                         Threshold; and




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                  7      public relations and crisis management costs directly related to mitigating harm to the
                         Insured Organization which are approved in advance by the Underwriters in their
                         discretion.

                  Breach Response Services will be provided by providers listed in the Information Packet,
                  will be subject to the terms and conditions of this Policy and the Information Packet, and will
                  not include any internal salary or overhead expenses of the Insured Organization. Breach
                  Response Services also includes assistance from the BBR Services Team and access to
                  Education and Loss Prevention Tools.

           Business Interruption Loss means:

                  1. Income Loss;

                  2. Forensic Expenses; and

                  3. Extra Expense;

                  actually sustained during the Period of Restoration as a result of the actual interruption of
                  the Insured Organization's business operations caused by a Security Breach or System
                  Failure. Coverage for Business Interruption Loss will apply only after the Waiting Period
                  has elapsed.

                  Business Interruption Loss will not include (i) loss arising out of any liability to any third
                  party; (ii) legal costs or legal expenses; (iii) loss incurred as a result of unfavorable business
                  conditions; (iv) loss of market or any other consequential loss; (v) Dependent Business
                  Loss; or (vi) Data Recovery Costs.

           Claim means:

                  1.     a written demand received by any Insured for money or services;

                  2.     with respect to coverage provided under the Regulatory Defense & Penalties insuring
                         agreement only, institution of a Regulatory Proceeding against any Insured; and

                  3.     with respect to coverage provided under part 1. of the Data & Network Liability
                         insuring agreement only, a demand received by any Insured to fulfill the Insured
                         Organization's contractual obligation to provide notice of a Data Breach pursuant to
                         a Breach Notice Law;

                  Multiple Claims arising from the same or a series of related, repeated or continuing acts,
                  errors, omissions or events will be considered a single Claim for the purposes of this Policy.
                  All such Claims will be deemed to have been made at the time of the first such Claim.

           Claims Expenses means:

                  1.     all reasonable and necessary legal costs and expenses resulting from the
                         investigation, defense and appeal of a Claim, if incurred by the Underwriters, or by the
                         Insured with the prior written consent of the Underwriters; and

                  2.     the premium cost for appeal bonds for covered judgments or bonds to release
                         property used to secure a legal obligation, if required in any Claim against an
                         Insured; provided the Underwriters will have no obligation to appeal or to obtain
                         bonds.



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                  Claims Expenses will not include any salary, overhead, or other charges by the Insured for
                  any time spent in cooperating in the defense and investigation of any Claim or circumstance
                  that might lead to a Claim notified under this Policy, or costs to comply with any regulatory
                  orders, settlements or judgments.

           Computer Systems means computers, any software residing on such computers and any
           associated devices or equipment:

                  1.     operated by and either owned by or leased to the Insured Organization; or

                  2.     with respect to coverage under the Breach Response and Liability insuring
                         agreements, operated by a third party pursuant to written contract with the Insured
                         Organization and used for the purpose of providing hosted computer application
                         services to the Insured Organization or for processing, maintaining, hosting or
                         storing the Insured Organization's electronic data.

           Continuity Date means:

                  1.     the Continuity Date listed in the Declarations; and
                  2.     with respect to any Subsidiaries acquired after the Continuity Date listed in the
                         Declarations, the date the Named Insured acquired such Subsidiary.

           Control Group means any principal, partner, corporate officer, director, general counsel (or most
           senior legal counsel) or risk manager of the Insured Organization and any individual in a
           substantially similar position.

           Criminal Reward Funds means any amount offered and paid by the Insured Organization with
           the Underwriters' prior written consent for information that leads to the arrest and conviction of
           any individual(s) committing or trying to commit any illegal act related to any coverage under this
           Policy; but will not include any amount based upon information provided by the Insured, the
           Insured's auditors or any individual hired or retained to investigate the illegal acts. All Criminal
           Reward Funds offered pursuant to this Policy must expire no later than 6 months following the
           end of the Policy Period.

           Cyber Extortion Loss means:

                  1.     any Extortion Payment that has been made by or on behalf of the Insured
                         Organization with the Underwriters' prior written consent to prevent or terminate an
                         Extortion Threat; and
                  2.     reasonable and necessary expenses incurred by the Insured Organization with the
                         Underwriters' prior written consent to prevent or respond to an Extortion Threat.

           Damages means a monetary judgment, award or settlement, including any award of prejudgment
           or post-judgment interest; but Damages will not include:

                  1.     future profits, restitution, disgorgement of unjust enrichment or profits by an Insured,
                         or the costs of complying with orders granting injunctive or equitable relief;
                  2.     retum or offset of fees, charges or commissions charged by or owed to an Insured for
                         goods or services already provided or contracted to be provided;
                  3.     taxes or loss of tax benefits;
                  4.     fines, sanctions or penalties;




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                  5.     punitive or exemplary damages or any damages which are a multiple of compensatory
                         damages, unless insurable by law in any applicable venue that most favors coverage
                         for such punitive, exemplary or multiple damages;

                  6.     discounts, coupons, prizes, awards or other incentives offered to the Insured's
                         customers or clients;

                  7.     liquidated damages, but only to the extent that such damages exceed the amount for
                         which the Insured would have been liable in the absence of such liquidated damages
                         agreement;

                  8.     fines, costs or other amounts an Insured is responsible to pay under a Merchant
                         Services Agreement; or

                  9.     any amounts for which the Insured is not liable, or for which there is no legal recourse
                         against the Insured.

           Data means any software or electronic data that exists in Computer Systems and that is subject
           to regular back-up procedures.

           Data Breach means the theft, loss, or Unauthorized Disclosure of Personally Identifiable
           Information or Third Party Information that is in the care, custody or control of the Insured
           Organization or a third party for whose theft, loss or Unauthorized Disclosure of Personally
           Identifiable Information or Third Party Information the Insured Organization is liable.

           Data Recovery Costs means the reasonable and necessary costs incurred by the Insured
           Organization to regain access to, replace, or restore Data, or if Data cannot reasonably be
           accessed, replaced, or restored, then the reasonable and necessary costs incurred by the
           Insured Organization to reach this determination.

                  Data Recovery Costs will not include: (i) the monetary value of profits, royalties, or lost
                  market share related to Data, including but not limited to trade secrets or other proprietary
                  information or any other amount pertaining to the value of Data; (ii) legal costs or legal
                  expenses; (iii) loss arising out of any liability to any third party; or (iv) Cyber Extortion Loss.

           Dependent Business means any entity that is not a part of the Insured Organization but which
           provides necessary products or services to the Insured Organization pursuant to a written
           contract.

           Dependent Business Loss means:

                  1.     Income Loss; and

                  2.     Extra Expense;

                  actually sustained during the Period of Restoration as a result of an actual interruption of
                  the Insured Organization's business operations caused by a Dependent Security Breach
                  or Dependent System Failure. Coverage for Dependent Business Loss will apply only
                  after the Waiting Period has elapsed.

                  Dependent Business Loss will not include (i) loss arising out of any liability to any third
                  party; (ii) legal costs or legal expenses; (iii) loss incurred as a result of unfavorable business
                  conditions; (iv) loss of market or any other consequential loss; (v) Business Interruption
                  Loss; or (vi) Data Recovery Costs.



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           Dependent Security Breach means a failure of computer security to prevent a breach of
           computer systems operated by a Dependent Business.

           Dependent System Failure means an unintentional and unplanned interruption of computer
           systems operated by a Dependent Business.

                  Dependent System Failure will not include any interruption of computer systems resulting
                  from (i) a Dependent Security Breach, or (ii) the interruption of computer systems that are
                  not operated by a Dependent Business.

           Digital Currency means a type of digital currency that:

                  1.   requires cryptographic techniques to regulate the generation of units of currency and
                       verify the transfer thereof;
                  2.   is both stored and transferred electronically; and
                  3.   operates independently of a central bank or other central authority.
           Education and Loss Prevention Tools means information and services made available by the
           Underwriters from time to time and includes access to beazleybreachsolutions.com, a dedicated
           portal through which Insureds can access news and information regarding breach response
           planning, data and network security threats, best practices in protecting data and networks, offers
           from third party service providers, and related information, tools and services. Insureds will also
           have access to communications addressing timely topics in data security, loss prevention and
           other areas.

           Extortion Payment means Money, Digital Currency, marketable goods or services demanded
           to prevent or terminate an Extortion Threat.

           Extortion Threat means a threat to:

                  1.   alter, destroy, damage, delete or corrupt Data;

                  2.   perpetrate the Unauthorized Access or Use of Computer Systems;

                  3.   prevent access to Computer Systems or Data;

                  4.   steal, misuse or publicly disclose Data, Personally Identifiable Information or Third
                       Party Information;

                  5.   introduce malicious code into Computer Systems or to third party computer systems
                       from Computer Systems; or

                  6.   interrupt or suspend Computer Systems;

                  unless an Extortion Payment is received from or on behalf of the Insured Organization.

           Extra Expense means reasonable and necessary expenses incurred by the Insured
           Organization during the Period of Restoration to minimize, reduce or avoid Income Loss, over
           and above those expenses the Insured Organization would have incurred had no Security
           Breach, System Failure, Dependent Security Breach or Dependent System Failure occurred.

           Financial Institution means a bank, credit union, saving and loan association, trust company or
           other licensed financial service, securities broker-dealer, mutual fund, or liquid assets fund or
           similar investment company where the Insured Organization maintains a bank account.


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           Forensic Expenses means reasonable and necessary expenses incurred by the Insured
           Organization to investigate the source or cause of a Business Interruption Loss.

           Fraudulent Instruction means the transfer, payment or delivery of Money or Securities by an
           Insured as a result of fraudulent written, electronic, telegraphic, cable, teletype or telephone
           instructions provided by a third party, that is intended to mislead an Insured through the
           misrepresentation of a material fact which is relied upon in good faith by such Insured.

                  Fraudulent Instruction will not include loss arising out of:

                  1.    fraudulent instructions received by the Insured which are not first authenticated via a
                        method other than the original means of request to verify the authenticity or validity of
                        the request;

                  2.    any actual or alleged use of credit, debit, charge, access, convenience, customer
                        identification or other cards;

                  3.    any transfer involving a third party who is not a natural person Insured, but had
                        authorized access to the Insured's authentication mechanism;

                  4.    the processing of, or the failure to process, credit, check, debit, personal identification
                        number debit, electronic benefit transfers or mobile payments for merchant accounts;

                  5.    accounting or arithmetical errors or omissions, or the failure, malfunction, inadequacy
                        or illegitimacy of any product or service;

                  6.    any liability to any third party, or any indirect or consequential loss of any kind;

                  7.    any legal costs or legal expenses; or

                  8.    proving or establishing the existence of Fraudulent Instruction.

           Funds Transfer Fraud means the loss of Money or Securities contained in a Transfer Account
           at a Financial Institution resulting from fraudulent written, electronic, telegraphic, cable, teletype
           or telephone instructions by a third party issued to a Financial Institution directing such
           institution to transfer, pay or deliver Money or Securities from any account maintained by the
           Insured Organization at such institution, without the Insured Organization's knowledge or
           consent.

                  Funds Transfer Fraud will not include any loss arising out of:

                  1.    the type or kind covered by the Insured Organization's financial institution bond or
                        commercial crime policy;

                  2.    any actual or alleged fraudulent, dishonest or criminal act or omission by, or involving,
                        any natural person Insured;

                  3.    any indirect or consequential loss of any kind;

                  4.    punitive, exemplary or multiplied damages of any kind or any fines, penalties or loss of
                        any tax benefit;

                  5.    any liability to any third party, except for direct compensatory damages arising directly
                        from Funds Transfer Fraud;



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                  6.   any legal costs or legal expenses; or proving or establishing the existence of Funds
                       Transfer Fraud;

                  7.   the theft, disappearance, destruction of, unauthorized access to, or unauthorized use of
                       confidential information, including a PIN or security code;

                  8.   any forged, altered or fraudulent negotiable instruments, securities, documents or
                       instructions; or

                  9.   any actual or alleged use of credit, debit, charge, access, convenience or other cards
                       or the information contained on such cards.

           Income Loss means an amount equal to:

                  1.   net profit or loss before interest and tax that the Insured Organization would have
                       earned or incurred; and

                  2.   continuing normal operating expenses incurred by the Insured Organization (including
                       payroll), but only to the extent that such operating expenses must necessarily continue
                       during the Period of Restoration.

           Individual Contractor means any natural person who performs labor or service for the Insured
           Organization pursuant to a written contract or agreement with the Insured Organization. The
           status of an individual as an Individual Contractor will be determined as of the date of an
           alleged act, error or omission by any such Individual Contractor.

           Insured means:

                  1.   the Insured Organization;

                  2.   any director or officer of the Insured Organization, but only with respect to the
                       performance of his or her duties as such on behalf of the Insured Organization;

                  3.   an employee (including a part time, temporary, leased or seasonal employee or
                       volunteer) or Individual Contractor of the Insured Organization, but only for work
                       done while acting within the scope of his or her employment and related to the conduct
                       of the Insured Organization's business;

                  4.   a principal if the Named Insured is a sole proprietorship, or a partner if the
                       Named Insured is a partnership, but only with respect to the performance of his or her
                       duties as such on behalf of the Insured Organization;

                  5.   any person who previously qualified as an Insured under parts 2. - 4., but only with
                       respect to the performance of his or her duties as such on behalf of the Insured
                       Organization;

                  6.   an Additional Insured, but only as respects Claims against such person or entity for
                       acts, errors or omissions of the Insured Organization;

                  7.   the estate, heirs, executors, administrators, assigns and legal representatives of any
                       Insured in the event of such Insured's death, incapacity, insolvency or bankruptcy, but
                       only to the extent that such Insured would otherwise be provided coverage under this
                       Policy; and




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                  8.    the lawful spouse, including any natural person qualifying as a domestic partner of any
                        Insured, but solely by reason of any act, error or omission of an Insured other than
                        such spouse or domestic partner.

           Insured Organization means the Named Insured and any Subsidiaries.

           Loss means Breach Response Services, Business Interruption Loss, Claims Expenses,
           Criminal Reward Funds, Cyber Extortion Loss, Damages, Data Recovery Costs, Dependent
           Business Loss, PCI Fines, Expenses and Costs, Penalties, loss covered under the eCrime
           insuring agreement and any other amounts covered under this Policy.

                  Multiple Losses arising from the same or a series of related, repeated or continuing acts,
                  errors, omissions or events will be considered a single Loss for the purposes of this Policy.

                  With respect to the Breach Response and First Party Loss insuring agreements, all acts,
                  errors, omissions or events (or series of related, repeated or continuing acts, errors,
                  omissions or events) giving rise to a Loss or multiple Losses in connection with such
                  insuring agreements will be deemed to have been discovered at the time the first such act,
                  error, omission or event is discovered.

           Media Liability means one or more of the following acts committed by, or on behalf of, the
           Insured Organization in the course of creating, displaying, broadcasting, disseminating or
           releasing Media Material to the public:

                  1.    defamation, libel, slander, product disparagement, trade libel, infliction of emotional
                        distress, outrage, outrageous conduct, or other tort related to disparagement or harm to
                        the reputation or character of any person or organization;

                  2.    a violation of the rights of privacy of an individual, including false light, intrusion upon
                        seclusion and public disclosure of private facts;

                  3.    invasion or interference with an individual's right of publicity, including commercial
                        appropriation of name, persona, voice or likeness;

                  4.    plagiarism, piracy, or misappropriation of ideas under implied contract;

                  5.    infringement of copyright;

                  6.    infringement of domain name, trademark, trade name, trade dress, logo, title, metatag,
                        or slogan, service mark or service name;

                  7.    improper deep-linking or framing;

                  8.    false arrest, detention or imprisonment;

                  9.    invasion of or interference with any right to private occupancy, including trespass,
                        wrongful entry or eviction; or

                  10.   unfair competition, if alleged in conjunction with any of the acts listed in parts 5. or 6.
                        above.

           Media Material means any information, including words, sounds, numbers, images or graphics,
           but will not include computer software or the actual goods, products or services described,
           illustrated or displayed in such Media Material.



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           Merchant Services Agreement means any agreement between an Insured and a financial
           institution, credit/debit card company, credit/debit card processor or independent service operator
           enabling an Insured to accept credit card, debit card, prepaid card or other payment cards for
           payments or donations.

           Money means a medium of exchange in current use authorized or adopted by a domestic or
           foreign government as a part of its currency.

           Named Insured means the Named Insured listed in the Declarations.

           Notified Individuals Threshold means the number of individual persons listed in the
           Declarations.

           PCI Fines, Expenses and Costs means the monetary amount owed by the Insured
           Organization under the terms of a Merchant Services Agreement as a direct result of a
           suspected Data Breach. With the prior consent of the Underwriters, PCI Fines, Expenses and
           Costs includes reasonable and necessary legal costs and expenses incurred by the Insured
           Organization to appeal or negotiate an assessment of such monetary amount. PCI Fines,
           Expenses and Costs will not include any charge backs, interchange fees, discount fees or other
           fees unrelated to a Data Breach.

           Penalties means:

                  1.    any monetary civil fine or penalty payable to a governmental entity that was imposed in
                        a Regulatory Proceeding; and

                  2.    amounts which the Insured is legally obligated to deposit in a fund as equitable relief
                        for the payment of consumer claims due to an adverse judgment or settlement of a
                        Regulatory Proceeding (including such amounts required to be paid into a "Consumer
                        Redress Fund");

                  but will not include: (a) costs to remediate or improve Computer Systems; (b) costs to
                  establish, implement, maintain, improve or remediate security or privacy practices,
                  procedures, programs or policies; (c) audit, assessment, compliance or reporting costs; or (d)
                  costs to protect the confidentiality, integrity and/or security of Personally Identifiable
                  Information or other information.

                  The insurability of Penalties will be in accordance with the law in the applicable venue that
                  most favors coverage for such Penalties.

           Period of Restoration means the 180-day period of time that begins upon the actual and
           necessary interruption of the Insured Organization's business operations.

           Personally Identifiable Information means:

                  1.    any information concerning an individual that is defined as personal information under
                        any Breach Notice Law; and

                  2.    an individual's drivers license or state identification number, social security number,
                        unpublished telephone number, and credit, debit or other financial account numbers in
                        combination with associated security codes, access codes, passwords or PINs; if such
                        information allows an individual to be uniquely and reliably identified or contacted or
                        allows access to the individual's financial account or medical record information.

                  but will not include information that is lawfully made available to the general public.


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           Policy Period means the period of time between the inception date listed in the Declarations and
           the effective date of termination, expiration or cancellation of this Policy and specifically excludes
           any Optional Extension Period or any prior policy period or renewal period.

           Privacy Policy means the Insured Organization's public declaration of its policy for collection,
           use, disclosure, sharing, dissemination and correction or supplementation of, and access to
           Personally Identifiable Information.

           Regulatory Proceeding means a request for information, civil investigative demand, or civil
           proceeding brought by or on behalf of any federal, state, local or foreign governmental entity in
           such entity's regulatory or official capacity.

           Securities means negotiable and non-negotiable instruments or contracts representing either
           Money or tangible property that has intrinsic value.

           Security Breach means a failure of computer security to prevent:

                  1.    Unauthorized Access or Use of Computer Systems, including Unauthorized
                        Access or Use resulting from the theft of a password from a Computer System or
                        from any Insured;

                  2.    a denial of service attack affecting Computer Systems;

                  3.    with respect to coverage under the Liability insuring agreements, a denial of service
                        attack affecting computer systems that are not owned, operated or controlled by an
                        Insured; or

                  4.    infection of Computer Systems by malicious code or transmission of malicious code
                        from Computer Systems.

           Subsidiary means any entity:

                  1.    which, on or prior to the inception date of this Policy, the Named Insured owns, directly
                        or indirectly, more than 50% of the outstanding voting securities ("Management
                        Control"); and

                  2.    which the Named Insured acquires Management Control after the inception date of this
                        Policy; provided that:

                        (i)    the revenues of such entity do not exceed 15% of the Named Insured's annual
                               revenues; or

                        (ii)   if the revenues of such entity exceed 15% of the Named Insured's annual
                               revenues, then coverage under this Policy will be afforded for a period of 60
                               days, but only for any Claim that arises out of any act, error, omission, incident
                               or event first occurring after the entity becomes so owned. Coverage beyond
                               such 60 day period will only be available if the Named Insured gives the
                               Underwriters written notice of the acquisition, obtains the written consent of
                               Underwriters to extend coverage to the entity beyond such 60 day period and
                               agrees to pay any additional premium required by Underwriters.

                  This Policy provides coverage only for acts, errors, omissions, incidents or events that occur
                  while the Named Insured has Management Control over an entity.

           System Failure means an unintentional and unplanned interruption of Computer Systems.


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                   System Failure will not include any interruption of computer systems resulting from (i) a
                   Security Breach, or (ii) the interruption of any third party computer system.
             Telephone Fraud means the act of a third party gaining access to and using the Insured
             Organization's telephone system in an unauthorized manner.

             Third Party Information means any trade secret, data, design, interpretation, forecast, formula,
            method, practice, credit or debit card magnetic strip information, process, record, report or other
            item of information of a third party not insured under this Policy which is not available to the
            general public.

             Transfer Account means an account maintained by the Insured Organization at a Financial
            Institution from which the Insured Organization can initiate the transfer, payment or delivery of
            Money or Securities.

             Unauthorized Access or Use means the gaining of access to or use of Computer Systems by
             an unauthorized person(s) or the use of Computer Systems in an unauthorized manner.

             Unauthorized Disclosure means the disclosure of (including disclosure resulting from phishing)
             or access to information in a manner that is not authorized by the Insured Organization and is
             without knowledge of, consent or acquiescence of any member of the Control Group.

             Waiting Period means the period of time that begins upon the actual interruption of the Insured
             Organization's business operations caused by a Security Breach, System Failure, Dependent
             Security Breach or Dependent System Failure, and ends after the elapse of the number of
             hours listed as the Waiting Period in the Declarations.

    EXCLUSIONS

     The coverage under this Policy will not apply to any Loss arising out of:

             Bodily Injury or Property Damage

                   1.    physical injury, sickness, disease or death of any person, including any mental anguish
                         or emotional distress resulting from such physical injury, sickness, disease or death; or

                   2.    physical injury to or destruction of any tangible property, including the loss of use
                         thereof; but electronic data will not be considered tangible property;

             Trade Practices and Antitrust

                   any actual or alleged false, deceptive or unfair trade practices, antitrust violation, restraint of
                   trade, unfair competition (except as provided in the Media Liability insuring agreement), or
                   false or deceptive or misleading advertising or violation of the Sherman Antitrust Act, the
                   Clayton Act, or the Robinson-Patman Act; but this exclusion will not apply to:

                   1.    the Breach Response insuring agreement; or

                   2.    coverage for a Data Breach or Security Breach, provided no member of the Control
                         Group participated or colluded in such Data Breach or Security Breach;
             Gathering or Distribution of Information
                   1.    the unlawful collection or retention of Personally Identifiable Information or other
                         personal information by or on behalf of the Insured Organization; but this exclusion



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                         will not apply to Claims Expenses incurred in defending the Insured against
                         allegations of unlawful collection of Personally Identifiable Information; or

                  2.     the distribution of unsolicited email, text messages, direct mail, facsimiles or other
                         communications, wire tapping, audio or video recording, or telemarketing, if such
                         distribution, wire tapping, recording or telemarketing is done by or on behalf of the
                         Insured Organization; but this exclusion will not apply to Claims Expenses incurred
                         in defending the Insured against allegations of unlawful audio or video recording;

           Prior Known Acts & Prior Noticed Claims

                  1. any act, error, omission, incident or event committed or occurring prior to the inception
                     date of this Policy if any member of the Control Group on or before the Continuity Date
                     knew or could have reasonably foreseen that such act, error or omission, incident or
                     event might be expected to be the basis of a Claim or Loss;

                  2. any Claim, Loss, incident or circumstance for which notice has been provided under any
                     prior policy of which this Policy is a renewal or replacement;

           Racketeering, Benefit Plans, Employment Liability & Discrimination

                  1.     any actual or alleged violation of the Organized Crime Control Act of 1970 (commonly
                         known as Racketeer Influenced and Corrupt Organizations Act or RICO), as amended;

                  2.     any actual or alleged acts, errors or omissions related to any of the Insured
                         Organization's pension, healthcare, welfare, profit sharing, mutual or investment
                         plans, funds or trusts;

                  3.     any employer-employee relations, policies, practices, acts or omissions, or any actual
                         or alleged refusal to employ any person, or misconduct with respect to employees; or

                  4.     any actual or alleged discrimination;

                  but this exclusion will not apply to coverage under the Breach Response insuring agreement
                  or parts 1., 2. or 3. of the Data & Network Liability insuring agreement that results from a
                  Data Breach; provided no member of the Control Group participated or colluded in such
                  Data Breach;

           Sale or Ownership of Securities & Violation of Securities Laws

                  1    the ownership, sale or purchase of, or the offer to sell or purchase stock or other
                       securities; or

                  2    an actual or alleged violation of a securities law or regulation;

           Criminal, Intentional or Fraudulent Acts

                  any criminal, dishonest, fraudulent, or malicious act or omission, or intentional or knowing
                  violation of the law, if committed by an Insured, or by others if the Insured colluded or
                  participated in any such conduct or activity; but this exclusion will not apply to:

                  1.     Claims Expenses incurred in defending any Claim alleging the foregoing until there is
                         a final non-appealable adjudication establishing such conduct; or




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                  2.    with respect to a natural person Insured, if such Insured did not personally commit,
                        participate in or know about any act, error, omission, incident or event giving rise to
                        such Claim or Loss.

                  For purposes of this exclusion, only acts, errors, omissions or knowledge of a member of the
                  Control Group will be imputed to the Insured Organization;

           Patent, Software Copyright, Misappropriation of Information

                  1.    infringement, misuse or abuse of patent or patent rights;

                  2.    infringement of copyright arising from or related to software code or software products
                        other than infringement resulting from a theft or Unauthorized Access or Use of
                        software code by a person who is not a past, present or future employee, director,
                        officer, partner or independent contractor of the Insured Organization; or

                  3.    use or misappropriation of any ideas, trade secrets or Third Party Information (i) by,
                        or on behalf of, the Insured Organization, or (ii) by any other person or entity if such
                        use or misappropriation is done with the knowledge, consent or acquiescence of a
                        member of the Control Group;

           Governmental Actions

                  a Claim brought by or on behalf of any state, federal, local or foreign governmental entity, in
                  such entity's regulatory or official capacity; but this exclusion will not apply to the Regulatory
                  Defense & Penalties insuring agreement;

            Other Insureds & Related Enterprises

                  a Claim made by or on behalf of:

                  1.    any Insured; but this exclusion will not apply to a Claim made by an individual that is
                        not a member of the Control Group under the Data & Network Liability insuring
                        agreement, or a Claim made by an Additional Insured; or

                  2.    any business enterprise in which any Insured has greater than 15% ownership interest
                        or made by any parent company or other entity which owns more than 15% of the
                        Named Insured;

           Trading Losses, Loss of Money & Discounts

                  1.    any trading losses, trading liabilities or change in value of accounts;

                  2.    any loss, transfer or theft of monies, securities or tangible property of the Insured or
                        others in the care, custody or control of the Insured Organization;

                  3.    the monetary value of any transactions or electronic fund transfers by or on behalf of
                        the Insured which is lost, diminished, or damaged during transfer from, into or between
                        accounts; or

                  4.    the value of coupons, price discounts, prizes, awards, or any other valuable
                        consideration given in excess of the total contracted or expected amount;

                  but this exclusion will not apply to coverage under the eCrime insuring agreement;



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           Media -Related Exposures

                  with respect to the Media Liability insuring agreement:

                  1.    any contractual liability or obligation; but this exclusion will not apply to a Claim for
                        misappropriation of ideas under implied contract;

                  2.    the actual or alleged obligation to make licensing fee or royalty payments;

                  3.    any costs or expenses incurred or to be incurred by the Insured or others for the
                        reprinting, reposting, recall, removal or disposal of any Media Material or any other
                        information, content or media, including any media or products containing such Media
                        Material, information, content or media;

                  4.    any Claim brought by or on behalf of any intellectual property licensing bodies or
                        organizations;

                  5.    the actual or alleged inaccurate, inadequate or incomplete description of the price of
                        goods, products or services, cost guarantees, cost representations, contract price
                        estimates, or the failure of any goods or services to conform with any represented
                        quality or performance;

                  6.    any actual or alleged gambling, contest, lottery, promotional game or other game of
                        chance; or

                  7.    any Claim made by or on behalf of any independent contractor, joint venturer or
                        venture partner arising out of or resulting from disputes over ownership of rights in
                        Media Material or services provided by such independent contractor, joint venturer or
                        venture partner;

           First Party Loss

                  with respect to the First Party Loss insuring agreements:

                  1.    seizure, nationalization, confiscation, or destruction of property or data by order of any
                        governmental or public authority;

                  2.    costs or expenses incurred by the Insured to identify or remediate software program
                        errors or vulnerabilities or update, replace, restore, assemble, reproduce, recollect or
                        enhance data or Computer Systems to a level beyond that which existed prior to a
                        Security Breach, System Failure, Dependent Security Breach, Dependent System
                        Failure or Extortion Threat:

                  3.    failure or malfunction of satellites or of power, utility, mechanical or telecommunications
                        (including Internet) infrastructure or services that are not under the Insured
                        Organization's direct operational control; or

                  4.    fire, flood, earthquake, volcanic eruption, explosion, lightning, wind, hail, tidal wave,
                        landslide, act of God or other physical event.




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     LIMIT OF LIABILITY AND COVERAGE

           Limits of Liability

                  The Policy Aggregate Limit of Liability listed in the Declarations (the "Policy Aggregate Limit
                  of Liability") is the Underwriters' combined total limit of liability for all Loss, other than
                  Breach Response Services, payable under this Policy.

                  The limit of liability payable under each insuring agreement will be an amount equal to the
                  Policy Aggregate Limit of Liability unless another amount is listed in the Declarations.
                  Such amount is the aggregate amount payable under this Policy pursuant to such insuring
                  agreement and is part of, and not in addition to, the Policy Aggregate Limit of Liability.

                  All Dependent Business Loss payable under this Policy is part of and not in addition to the
                  Business Interruption Loss limit listed in the Declarations.

                  The Underwriters will not be obligated to pay any Damages, Penalties, PCI Fines,
                  Expenses and Costs or Claims Expenses, or to defend any Claim, after the Policy
                  Aggregate Limit of Liability has been exhausted, or after deposit of the Policy Aggregate
                  Limit of Liability in a court of competent jurisdiction.

            Breach Response Limits

                  Coverage for Breach Response Services under this Policy is in addition to the Policy
                  Aggregate Limit of Liability.

                  The Notified Individuals limit listed in the Declarations is the maximum total number of
                  individuals to whom notification, call center and credit or identity monitoring services will be
                  provided (or attempted) for all incidents or series of related incidents giving rise to an
                  obligation to provide Breach Response Services.

                  The Legal, Forensic & Public Relations/Crisis Management limit listed in the Declarations is
                  the aggregate limit of coverage for all services and costs covered under parts 1., 2., 3. and 7.
                  of the definition of Breach Response Services.

                  Except as provided in the Additional Breach Response Limits clause below, the Underwriters
                  will not be obligated to provide any Breach Response Services after the number of
                  individuals to whom services are provided under part 4. of the definition of Breach Response
                  Services reaches the Notified Individuals limit listed in the Declarations. If the total number
                  of individuals to be notified under the Policy exceeds the Notified Individuals limit listed in the
                  Declarations, the Insured will be responsible for notifying and providing call center services
                  and credit or identity monitoring services to such additional individuals in accordance with the
                  processes described in the Information Packet.

            Additional Breach Response Limits

                  Notwithstanding the foregoing, if:

                  1.    the total number of individuals to whom services described in parts 4., 5. and 6. of the
                        definition of Breach Response Services are provided exceeds the amount listed in
                        Notified Individuals limit listed in the Declarations; or

                  2.    the dollar amount of the services described in parts 1., 2., 3. and 7. of the definition of
                        Breach Response Services provided to the Insured Organization exceeds the Legal,
                        Forensic & Public Relations/Crisis Management limit listed in the Declarations;

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                  this Policy will cover the costs, fees and expenses incurred to provide such Breach
                  Response Services up to an amount equal to the Policy Aggregate Limit of Liability (the
                  "Additional Breach Response Limit").

                  The Additional Breach Response Limit is part of, and not in addition to, the Policy
                  Aggregate Limit of Liability and will be reduced and may be exhausted by payments under
                  either limit. Upon exhaustion of the Additional Breach Response Limit, there will be no
                  further coverage under this Policy for any costs, fees or expenses covered thereunder.

    RETENTIONS

           The Retention listed in the Declarations applies separately to each incident, event or related
           incidents or events giving rise to a Claim or Loss. The Retention will be satisfied by monetary
           payments by the Named Insured of covered Loss under each insuring agreement. If any Loss
           arising out of an incident or Claim is subject to more than one Retention, the Retention for each
           applicable insuring agreement will apply to such Loss, provided that the sum of such Retention
           amounts will not exceed the largest applicable Retention amount.

           The Retention for Breach Response Services listed in the Declarations applies separately to
           each incident, event or related incidents or events, giving rise to legal, forensic and public
           relations/crisis management services and costs covered under parts 1., 2., 3. and 7. of the
           definition of Breach Response Services. The Retention will be satisfied by monetary payments
           by the Named Insured for such services and costs.

           Coverage for Business Interruption Loss and Dependent Business Loss will apply after the
           Waiting Period has elapsed and the Underwriters will then indemnify the Named Insured for all
           Business Interruption Loss and Dependent Business Loss sustained during the Period of
           Restoration in excess of the Retention.

           Satisfaction of the applicable Retention is a condition precedent to the payment of any Loss
           under this Policy, and the Underwriters will be liable only for the amounts in excess of such
           Retention.

     +PTIONAL EXTENSION PERIOD

           Upon non-renewal or cancellation of this Policy for any reason except the non-payment of premium,
           the Named Insured will have the right to purchase, for additional premium in the amount of the
           Optional Extension Premium percentage listed in the Declarations of the full Policy Premium
           listed in the Declarations, an Optional Extension Period for the period of time listed in the
           Declarations. Coverage provided by such Optional Extension Period will only apply to Claims first
           made against any Insured during the Optional Extension Period and reported to the Underwriters
           during the Optional Extension Period, and arising out of any act, error or omission committed
           before the end of the Policy Period. In order for the Named Insured to invoke the Optional
           Extension Period option, the payment of the additional premium for the Optional Extension Period
           must be paid to the Underwriters within 60 days of the termination of this Policy.

           The purchase of the Optional Extension Period will in no way increase the Policy Aggregate
           Limit of Liability or any sublimit of liability. At the commencement of the Optional Extension
           Period the entire premium will be deemed earned, and in the event the Named Insured
           terminates the Optional Extension Period for any reason prior to its natural expiration, the
           Underwriters will not be liable to return any premium paid for the Optional Extension Period.




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           All notices and premium payments with respect to the Optional Extension Period option will be
           directed to the Underwriters through entity listed for Administrative Notice in the Declarations.

     GENERAL CONDITIONS

           Notice of Claim or Loss

                  The Insured must notify the Underwriters of any Claim as soon as practicable, but in no
                  event later than: (i) 60 days after the end of the Policy Period; or (ii) the end of the Optional
                  Extension Period (if applicable). Notice must be provided through the contacts listed for
                  Notice of Claim, Loss or Circumstance in the Declarations.

                  With respect to Breach Response Services, the Insured must notify the Underwriters of any
                  actual or reasonably suspected Data Breach or Security Breach as soon as practicable
                  after discovery by the Insured, but in no event later than 60 days after the end of the Policy
                  Period. Notice must be provided to the Breach Response Services Team listed in the
                  Declarations. Notice of an actual or reasonably suspected Data Breach or Security Breach
                  in conformance with this paragraph will also constitute notice of a circumstance that could
                  reasonably be the basis for a Claim.

                  With respect to Cyber Extortion Loss, the Named Insured must notify the Underwriters via
                  the email address listed in the Notice of Claim, Loss or Circumstance in the Declarations as
                  soon as practicable after discovery of an Extortion Threat but no later than 60 days after the
                  end of the Policy Period. The Named Insured must obtain the Underwriters' consent prior
                  to incurring Cyber Extortion Loss.

                  With respect to Data Recovery Costs, Business Interruption Loss and Dependent
                  Business Loss the Named Insured must notify the Underwriters through the contacts for
                  Notice of Claim, Loss or Circumstance in the Declarations as soon as practicable after
                  discovery of the circumstance, incident or event giving rise to such loss. The Named
                  Insured will provide the Underwriters a proof of Data Recovery Costs, Business
                  Interruption Loss and Dependent Business Loss, and this Policy will cover the reasonable
                  and necessary costs, not to exceed USD 50,000, that the Named Insured incurs to contract
                  with a third party to prepare such proof. All loss described in this paragraph must be reported,
                  and all proofs of loss must be provided, to the Underwriters no later than 6 months after the
                  end of the Policy Period.

                  The Named Insured must notify the Underwriters of any loss covered under the eCrime
                  insuring agreement as soon as practicable, but in no event later than 60 days after the end of
                  the Policy Period. Notice must be provided through the contacts listed for Notice of Claim,
                  Loss or Circumstance in the Declarations.

                  Any Claim arising out of a Loss that is covered under the Breach Response, First Party Loss
                  or eCrime insuring agreements and that is reported to the Underwriters in conformance with
                  the foregoing will be considered to have been made during the Policy Period.

           Notice of Circumstance

                  With respect to any circumstance that could reasonably be the basis for a Claim (other than
                  a Data Breach or Security Breach noticed under the Breach Response insuring agreement)
                  the Insured may give written notice of such circumstance to the Underwriters through the
                  contacts listed for Notice of Claim, Loss or Circumstance in the Declarations as soon as
                  practicable during the Policy Period. Such notice must include:




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                  1.    the specific details of the act, error, omission or event that could reasonably be the
                        basis for a Claim;

                  2.    the injury or damage which may result or has resulted from the circumstance; and

                  3.    the facts by which the Insured first became aware of the act, error, omission or event.

                  Any subsequent Claim made against the Insured arising out of any circumstance reported to
                  Underwriters in conformance with the foregoing will be considered to have been made at the
                  time written notice complying with the above requirements was first given to the Underwriters
                  during the Policy Period.

           Defense of Claims

                  Except with respect to coverage under the Payment Card Liabilities & Costs insuring
                  agreement, the Underwriters have the right and duty to defend any covered Claim or
                  Regulatory Proceeding. Defense counsel will be mutually agreed by the Named Insured
                  and the Underwriters but, in the absence of such agreement, the Underwriters' decision will
                  be final.

                  With respect to the Payment Card Liabilities & Costs insuring agreement, coverage will be
                  provided on an indemnity basis and legal counsel will be mutually agreed by the Named
                  Insured and the Underwriters and will be selected from one of the firms listed in the
                  Information Packet.

                  The Underwriters will pay actual loss of salary and reasonable expenses resulting from the
                  attendance by a corporate officer of the Insured Organization at any mediation meetings,
                  arbitration proceedings, hearings, depositions, or trials relating to the defense of any Claim,
                  subject to a maximum of $2,000 per day and $100,000 in the aggregate, which amounts will
                  be part of and not in addition to the Policy Aggregate Limit of Liability.

           Settlement of Claims

                  If the Insured refuses to consent to any settlement recommended by the Underwriters and
                  acceptable to the claimant, the Underwriters' liability for such Claim will not exceed:

                  1.    the amount for which the Claim could have been settled, less the remaining Retention,
                        plus the Claims Expenses incurred up to the time of such refusal; plus

                  2.    sixty percent (60%) of any Claims Expenses incurred after the date such settlement or
                        compromise was recommended to the Insured plus sixty percent (60%) of any Damages,
                        Penalties and PCI Fines, Expenses and Costs above the amount for which the
                        Claim could have been settled;

                  and the Underwriters will have the right to withdraw from the further defense of such Claim.

                  The Insured may settle any Claim where the Damages, Penalties, PCI Fines, Expenses
                  and Costs and Claims Expenses do not exceed the Retention, provided thatthe entire Claim
                  is resolved and the Insured obtains a full release on behalf of all Insureds from all claimants.

           Assistance and Cooperation

                  The Underwriters will have the right to make any investigation they deem necessary, and the
                  Insured will cooperate with the Underwriters in all investigations, including investigations
                  regarding coverage under this Policy and the information and materials provided to the
                  underwriters in connection with the underwriting and issuance of this Policy. The Insured will

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                  execute or cause to be executed all papers and render all assistance as is requested by the
                  Underwriters. The Insured agrees not to take any action which in any way increases the
                  Underwriters' exposure under this Policy. Expenses incurred by the Insured in assisting and
                  cooperating with the Underwriters do not constitute Claims Expenses under the Policy.

                  The Insured will not admit liability, make any payment, assume any obligations, incur any
                  expense, enter into any settlement, stipulate to any judgment or award or dispose of any
                  Claim without the written consent of the Underwriters, except as specifically provided in the
                  Settlement of Claims clause above. Compliance with a Breach Notice Law will not be
                  considered an admission of liability.

           Subrogation

                  If any payment is made under this Policy and there is available to the Underwriters any
                  of the Insured's rights of recovery against any other party, then the Underwriters will
                  maintain all such rights of recovery. The Insured will do whatever is reasonably necessary to
                  secure such rights and will not do anything after an incident or event giving rise to a Claim or
                  Loss to prejudice such rights. If the Insured has waived its right to subrogate against a third
                  party through written agreement made before an incident or event giving rise to a Claim or
                  Loss has occurred, then the Underwriters waive their rights to subrogation against such third
                  party. Any recoveries will be applied first to subrogation expenses, second to Loss paid by
                  the Underwriters, and lastly to the Retention. Any additional amounts recovered will be paid
                  to the Named Insured.

           Other Insurance

                  The insurance under this Policy will apply in excess of any other valid and collectible
                  insurance available to any Insured unless such other insurance is written only as specific
                  excess insurance over this Policy.

            Action Against the Underwriters

                  No action will lie against the Underwriters or the Underwriters' representatives unless and
                  until, as a condition precedent thereto, the Insured has fully complied with all provisions,
                  terms and conditions of this Policy and the amount of the Insured's obligation to pay has
                  been finally determined either by judgment or award against the Insured after trial, regulatory
                  proceeding, arbitration or by written agreement of the Insured, the claimant, and the
                  Underwriters.

                  No person or organization will have the right under this Policy to join the Underwriters as
                  a party to an action or other proceeding against the Insured to determine the Insured's
                  liability, nor will the Underwriters be impleaded by the Insured or the Insured's legal
                  representative.

                  The Insured's bankruptcy or insolvency of the Insured's estate will not relieve the
                  Underwriters of their obligations hereunder.
           Change of Law, Unavailability of Breach Response Services
                  If there is a change of law, regulation or enforcement that prevents the Underwriters or its
                  providers from providing all or part ofthe Breach Response Services, or if a provider is unable
                  to or does not provide Breach Response Services, the Underwriters will make reasonable
                  efforts to procure similar services from other sources. In such event, the maximum the
                  Underwriters will pay for the costs of procuring and providing all Breach Response Services,
                  including substitute products and services, will be no more than USD 10,000,000 in the
                  aggregate for the Policy Period, which amount will be in addition to the Policy Aggregate


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                  Limit of Liability. If it is not reasonably possible for the Underwriters to procure substitute
                  products or services, the Underwriters will not be obligated to provide such services.

           Entire Agreement

                  By acceptance of the Policy, all Insureds agree that this Policy embodies all agreements
                  between the Underwriters and the Insured relating to this Policy. Notice to any agent, or
                  knowledge possessed by any agent or by any other person, will not effect a waiver or a
                  change in any part of this Policy or stop the Underwriters from asserting any right under the
                  terms of this Policy; nor will the terms of this Policy be waived or changed, except by
                  endorsement issued to form a part of this Policy signed by the Underwriters.

           Mergers or Consolidations

                  If during the Policy Period the Named Insured consolidates or merges with or is acquired by
                  another entity, or sells more than 50% of its assets to another entity, then this Policy will
                  continue to remain in effect through the end of the Policy Period, but only with respect to
                  events, acts or incidents that occur prior to such consolidation, merger or acquisition. There
                  will be no coverage provided by this Policy for any other Claim or Loss unless the Named
                  Insured provides written notice to the Underwriters prior to such consolidation, merger or
                  acquisition, the Named Insured has agreed to any additional premium and terms of
                  coverage required by the Underwriters and the Underwriters have issued an endorsement
                  extending coverage under this Policy.

           Assignment

                  The interest hereunder of any Insured is not assignable. If the Insured dies or is adjudged
                  incompetent, such insurance will cover the Insured's legal representative as if such
                  representative were the Insured, in accordance with the terms and conditions of this Policy.

           Cancellation

                  This Policy may be canceled by the Named Insured by giving written notice to the
                  Underwriters through the entity listed for Administrative Notice in the Declarations stating
                  when the cancellation will be effective.

                  This Policy may be canceled by the Underwriters by mailing to the Named Insured at the
                  address listed in the Declarations written notice stating when such cancellation will be
                  effective. Such date of cancellation will not be less than 60 days (or 10 days for cancellation
                  due to non-payment of premium) after the date of notice.

                  If this Policy is canceled in accordance with the paragraphs above, the earned premium will
                  be computed pro rata; but the premium will be deemed fully eamed if any Claim, or any
                  circumstance that could reasonably be the basis for a Claim or Loss, is reported to the
                  Underwriters on or before the date of cancellation. Payment or tender of unearned premium
                  is not a condition of cancellation.

           Singular Form of a Word

                  Whenever the singular form of a word is used herein, the same will include the plural when
                  required by context.




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           Headings

                  The titles of paragraphs, clauses, provisions or endorsements of or to this Policy are intended
                  solely for convenience and reference, and are not deemed in any way to limit or expand the
                  provisions to which they relate and are not part of the Policy.

           Representation by the Insured

                  All Insureds agree that the statements contained the information and materials provided to
                  the Underwriters in connection with the underwriting and issuance of this Policy are true,
                  accurate and are not misleading, and that the Underwriters issued this Policy, and assume
                  the risks hereunder, in reliance upon the truth thereof.

           Named Insured as Agent

                  The Named Insured will be considered the agent of all Insureds, and will act on behalf of all
                  Insureds with respect to the giving of or receipt of all notices pertaining to this Policy, and the
                  acceptance of any endorsements to this Policy. The Named Insured is responsible for the
                  payment of all premiums and Retentions and for receiving any return premiums.




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                                                                                                             INT_BOJ_0000616
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                                                            Beazley Breach Response




      Information Pack




                                                                         INT_BOL0000617
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     Beazley Breach Response
     Information Packet for privacy breach response and risk management services
    Thank you for purchasing a Beazley Breach                Your BBR policy includes an array of benefits and
    Response (BBR) insurance policy.                         services including:

     BBR is the industry leading solution for data privacy   • Complimentary loss control and risk management
     and security risk management, and provides a range        information including online resources and value-
     of services designed to help your organization           added educational webinars
     respond to an actual or suspected data breach            (beazleybreachsolutions.com).
     incident effectively,efficiently, and in compliance
     with the law.                                           • A computer forensics "Information Security
                                                               Incident Response" guide to empower your
    This Information Packet details the features of your       organization's IT staff with knowledge of crucial
    BBR policy and sets out the process for responding         forensic procedures that can make or break the
    to an actual or suspected data breach, including how       investigation of a suspected breach.
    to obtain the maximum benefit of Beazley's Breach
    Response Services team. We encourage you to              • Assistance at every stage of the investigation of,
    circulate this Information Packet to the members of        and response to, a data breach incident from
    your data breach incident response team, and               Beazley's in-house BBR Services team of data
    incorporate the resources available underthe policy        privacy attorneys and technical experts.
    as a component of your incident response plan.
                                                             A single call or email to BBR Services, notifying the
                                                             team of a suspected data breach will begin activation
                                                             of the following services:

                                                             Initial breach investigation and consulting
                                                             • Legal services
                                                             • Computer forensic services
                                                             Response to breach events
                                                             • Notification services including foreign notification
                                                               where applicable
                                                             • Call center services

              To notify us of a breach,                      • Breach resolution and mitigation services
              send an email to                               • Public relations and crisis management expenses
              bbr cl aim s@beazi ey .com




                                                                                                                      POc7 I



                                                                                                                INT_BOJ_0000618
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     Risk management tools and resources
    As a BBR policy holder, your organization is entitled     Information Security
    to enroll in beazleybreachsolutions.com, a risk
    management portal that provides educational and           Incident Response Guide
    loss control information relating to compliance with
    applicable laws, safeguarding information, preparing to   Beazley, in partnership with Navigant, a leader in
    respond to breach incidents and best practices.           complex data management and forensics
                                                              analysis, developed a joint Information Security
    If you enroll in beazleybreachsolutions.com, you          Incident Response Guide aimed at providing a
    will have the opportunity to attend webinars on           roadmap for companies to prepare for and
    current topics related to information security and        manage the aftermath of a data security breach.
    breach preparedness, and be able to receive other         The guide, provided to BBR policyholders,
    risk management tools and information that we             addresses the increasing need for effective risk
    periodically make available to our policy holders.        management on the part of companies hoping to
                                                              limit the damage caused by a data breach.
    The website includes a wide variety of training
    resources to help educate employees about privacy
                                                              The Information Security Incident Response
    and data security risks. You will find overviews,
                                                              Guide addresses information security incidents
    security awareness posters, employee tip sheets,
                                                              such as malware intrusions, social engineering
    recorded training webinars, and PowerPoint slide
                                                              attacks, unauthorized network access, lost or
    decks you can download and adapt.                         stolen devices, and other kinds of data security
    You will also have access to our online training site,    incidents and breaches. The guide also provides
    elearning.beazleybreachsolutions.com. On this             in-depth case studies and best practices for
    training site, you can upload employee lists, create      preparation, risk assessment, and incident
    training assignments for your employees, and track        documentation, highlighting the varied
    individual completion of training.                        components of an effective response.




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                                                                                                            INT_BOJ_0000619
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    Activation of breach response services
     Beazley Breach Response Services Team                     What happens after notifying us?
    Beazley is committed to providing industry leading         A BBR Services team member will respond to the
    data breach response services for our clients. This is     notice generally on the same or next business day
    why we created the BBR Services team; a dedicated          and will schedule a phone call to discuss the
    business unit within Beazley, focused exclusively on       incident, assist you with any needed breach
    helping insureds successfully prepare for and              investigation and response services available under
    respond to breaches . The BBR Services team works          your BBR policy. We recommend that those within
    in collaboration with you to triage and assess the         your organization who are involved in investigating
    severity of a data breach incident, while coordinating     the incident participate on this phone call.
    the range of resources and services you may need
                                                               The BBR Services team will continue to collaborate
    to meet legal requirements and maintain customer
                                                               with you throughout the investigation and response
    confidence. BBR Services is your frontline partner in
                                                               process, to provide guidance and to arrange breach
    data breach investigation and response, and
                                                               investigation and response services provided by
    available to your organization regardless of the size,
                                                               Beazley's network of expert service providers.
    severity, or cost of a data breach.
     whorl to notify us?                                                    ....
                                                               ('N    ‘..Atortton and ransom .\ arc
    You should notify Beazley as soon as you suspect
    that personally identifiable or confidential data for      serx
    which you are responsible might have been                  With thousands of ransomware attacks occurring
    compromised. The sooner you notify us about a              on a daily basis, ransomware is a threat facing all
    potential data breach, the more our BBR Services           organizations across all industries. Beazley's
    team can do to help.                                       dedicated in-house team, Beazley Breach
    It is also important that you contact us first before      Response (BBR) Services, provides timely
    retaining any service providers as the BBR Services        ransomware assistance to BBR policyholders
    team will take you through the process and work            based on our repeated and extensive experience
    with you to secure services from providers that best       handling ransomware incidents.
    match your needs.                                          If your organization is experiencinga
    How to notify us?                                          ransomware attack, BBR Services assists by:

    Send an email to bbr.claims@beazley.com with               • Promptly consulting with your team to
                                                                 determine an appropriate response;
    the following in your notification email:
     • the name of your organization and insurance             • Recommending and facilitating a fast
       policy number if possible;                                connection with computer forensic services to
                                                                 determine if personally identifiable information
     • a short description of the incident;                      or protected health information was
     • the date the incident occurred (if known);                compromised; and/or
     • the date your organization discovered the incident;     • Facilitating introductions to service providers
       and                                                       who can help you with data decryption, data
     • contact information for the point person handling the     restoration, or securing bitcoin if your
       investigation.                                            organization decides to pay the ransom.
     Do not:                                                   BBR Services has developed a ransomware tip
     • email Beazleystaff directly to provide the in tial      sheet for BBR policyholders that explains the
       notice; or                                              ransomware threat and the immediate steps
                                                               companies facing this threat should take. This tip
    • include any personally identifiable information or
                                                               sheet can help your organization minimize the
      protected health information.
                                                               impact of a ransomware attack and speed up the
    Email is strongly recommended as the best method           recovery time following an attack.
    of notification; you may alternatively provide notice
    of an incident by calling Beazley's 24-hour hotline,       You can download the tip sheet from our
    (866) 567-8570, and provide the information                policyholder risk management website,
    described above.                                           beazleybreachsolutions.com, or you can email
                                                               bbrservices@beazley.com to request a copy.




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     Legal services
    If an incident occurs that might require notification    United States
    under relevant breach notice laws or regulations,        Baker Hostetler LLP
    specific Legal Services to assist you in investigating   Theodore J. Kobus III, Lynn Sessions, CraigA.
    and responding to the incident are included.             Hoffman,
     BBR Services will arrange Legal Services for you and    Randal L. Gainer, Eric A. Packel and Scott Koller
     will connect you tothese experts; please do not         www.bakerlaw.com
     contact Beazley's partnering law firms directly         Buchanan Ingersoll & Rooney PC
     without the involvement of BBR Services.                Matt Meade and Pamela Hepp
                                                             www.bipc.com
                                                             McDonald Hopkins LLC
                                                             James J. Giszczak and Dominic Paluzzi
                                                             www.mcdonaldhopkins.com
                                                             Mullen Coughlin
                                                             John F. Mullen
                                                             www.mullen.tegal
                                                             Cooley LLP
                                                             David Navetta
                                                             www.cooley.com
                                                             Polsinelli LLP
                                                             Bruce Radke
                                                             www.polsinelli.com
                                                             Canada
                                                             Dentons Canada LLP
                                                             Chantal Bernier and Timothy Banks
                                                             www.dentons.com/canada
                                                             Fasken Martineau DuMoulin LLP
                                                             Alex Cameron
                                                             www.fasken.com
                                                             nNovation LLP
                                                             Kris Klein
                                                             www.nNovation.com
                                                             Mexico
                                                             Davara Abogados
                                                             Isabel Davara
                                                             www.davara.com.mx
                                                             Lex Informatica
                                                             Joel A. Gomez Trevino
                                                             www.lexinformatica.com
                                                             Platero, Galicia & Lemus Abogados
                                                             Luis Mario Lemus Rivero
                                                             www.pglabogados.com
                                                             R10S Abogados
                                                             Agustin Rios
                                                             www.riosabogados.com




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     Computer expert services
     In the event that external forensics assistance is       United States and Canada
     needed to assess the impact of a data incident on
                                                              Crypsis
     your computer system, Computer Expert Services
                                                              www.crypsisgroup.com
     will be provided to (1) help to determine whether,
     and the extent to which, notification must be            Kroll Ontrack
     provided to comply with Breach Notice Laws, and (2)      www.krotiontrack.com
     if applicable, give advice and oversight in connection
     with the investigation conducted by a PCI Forensic       LMG Security
     Investigator.                                            www.imgsecurity.com
                                                              Mandiant®
     The computer security expert that provides               www.mandiant.com
     Computer Expert Services will require access to
     information, files and systems and it is important for   Navigant Consulting, Inc.
     you to comply with the expert's requests and             www.navigant.com
     cooperate with the investigation. Reports or findings    RSM
     of the expert will be made available to you, us, the     www.rsmus.com
     BBR Services team and any attorney that you retain
     to provide advice with regard to the incident.           SecureWorks
                                                              www.secureworks.com
     BBR Services will arrange Computer Expert
                                                              Sylint
     Services for you and will connect you to these
                                                              www.sylint.com
     experts: please do not contact Beazley's
     partnering forensics firms directly without the          Verizon Investigative Response Unit
     involvement of BBR Services.                             www.verizonenterprise.com/products/security/
                                                              risk-team/investigative-response.xml
                                                              Canada
                                                              CGI
                                                              www.cgi.com
                                                              Mandiant ®
                                                              www.mandiant.com
                                                              Verizon Investigative Response Unit
                                                              www.verizonenterprise.com/products/security/
                                                              risk-team/investigative-response.xml
                                                              Mexico
                                                              Duriva
                                                              www.duriva.com
                                                              KPMG
                                                              www.kpmg.com.mx
                                                              MaTTica
                                                              www.mattica.com
                                                              Scitum
                                                              www.scitum.com.mx




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    Notification services and call center services
    BBR Services will assist you with the notification
    process, including arranging for notification and/or     United States
    call center service. BBR Services will walk you          Dasher
    through notification details such as how to work with    www.dasherinc.com
    privacy counsel to develop notification letters and
    how to timely provide notification letters, relevant     Epiq Corporate Services, Inc.
    addresses and other required deliverables to the         www.epiqsystems.com
    notification vendor.
                                                             Garden City Group, LLC
                                                             www.gardencitygroup.com
    Notification letters will be black and white and two-
    sided; returned mail will be provided to you at your     Intelligent Business Concepts, Inc.
    request. Mailing may be staggered to accommodate         www.intellbc.com
    the number of notifications and anticipated call
                                                             NPC, Inc
    center volume. For notifications by U.S. mail, the
                                                             www.npcweb.com
    notification vendor will update and mail notifications
    according to the U.S. Postal Service data base of        Canada
    address changes. Notification services do not include
    further tracing of individuals whose notifications are   Epiq Corporate Services, Inc.
    returned.                                                www.epiqcorporateservices.corn
                                                             Miratel Solutions Inc
    BBR Services will also walk you through developing       www.miratelinc.com
    a set of frequently asked questions (FAQs) for use
    by the call center and how to anticipate and prepare     Mexico
    for call escalations.                                    Business Advantage
                                                             www.business-advantage.com.mx
                                                             Konecta
                                                             www.grupokonecta.corn
                                                             Epiq Corporate Services, Inc
                                                             www.epicisystems.com




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     Breach resolution and mitigation services
    Beazley Breach Response includes a number of
    products that provide Resolution and Mitigation          Credit monitoring products
    Services, including one and three bureau monitoring
    and identity monitoring solutions. All the solutions     • Experian IdentityWorks'4
    include Identity Restoration services.* Based on our
                                                                • Credit: Ensures they have access to credit
    experience, three bureau credit monitoring is
                                                                  monitoring (1or 3 Bureaus), Identity
    generally appropriate for breaches involving data
                                                                  Restoration services and identity theft
    such as names combined with social security
                                                                  insurance to help them regain their security.
    numbers. For breaches involving less sensitive data,
    one bureau credit monitoring or identity monitoring         • Minor Plus: Monthly monitoring of Experian
    solutions may be appropriate. The BBR Services                information for every enrolled child, internet
    team has handled over 6,000 data breaches and will            surveillance, Identity Restoration services
    advise you on which products or solutions may be              and identity theft insurance.
    applicable for a particular breach event.
                                                             • Equifax Complete"' Advantage Plan
    A product or solution may be offered where                 (for Canadian residents only)
    reasonably practicable and only to the extent            • Equifax Credit File ID Alert"'
    available in a particular jurisdiction. Notified          (for Canadian residents only)
    Individuals will have up to ninety (90) days from
    mailing of the notification to subscribe to an offered
    product or solution and they must qualify for            Identity monitoring products
    enrollment, complete the enrollment process and          • Experian's Identity and Identity Minor: A
    agree to the applicable terms and conditions set by        solution for when credit monitoring isn't
    the provider. Enrollees of an offered product or           needed. This cost effective product scours chat
    solution will have access to the services provided         rooms, blogs, websites and other data sources
    under such product or solution for 12 months from          to identify and alert members of the illegal
    the date of their enrollment.                              trading and selling of personal identities.
                                                               Includes Identity Restoration and identity theft
    * Subscribers will automatically receive access to         insurance.
    Identity Restoration services from the date of the
    notification letter through the full duration of the
    product term, even if consumers don't enroll in the
    product. If they do enroll in an IdentityWorks
    product, identity restoration is extended through the
    full duration of the product term as well. Product
    enrollments must occur prior to the Enrollment End
    Date indicated on the orderform.




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    Additional information                                   Your responsibilities
    on products and offerings                                To ensure that the Services described above are
                                                             provided promptly and properly, you must follow the
    Descriptions of each of the credit or identity           requirements and procedures set forth in the Policy
    monitoring products and solutions are attached.          and in this Information Packet. We require your
    Such descriptions are provided by                        assistance and cooperation with us and with any
    ConsumerInfo.com, Inc. and Equifax Canada Co.            third party vendors providing Services. Please
    and are for informational purposes only and are not      respond to BBR Services or outside vendor requests
    part of the Policy. The actual services available with   and inquiries in a timely manner and enter into
    each product or solution are governed by the terms       necessary contracts required by our vendors for the
    and conditions of the applicable agreements that you     provision of services. You will be responsible for
    must enter into prior to the product or solution being   paying any costs resulting from your failure to timely
    offered to Notified Individuals. Further information     provide responses, accurate information or
    about the ConsumerInfo.com and Equifax Canada            approvals necessaryforthe provision of the
    products can be obtained at the telephone numbers        Services. There is no coverage under the Policy for
    indicated in the applicable description. You may also    any of your internal salary or overhead expenses or
    contact us through your insurance broker to receive      for your assistance and cooperation in responding to
    additional information about the Services.               a breach incident. In the event of a breach incident
                                                             or suspected incident, do not contact any service
                                                             providers directly. Instead, you must first provide
                                                             notice to us at bbr.claims@beazley.com or at
                                                             (866) 567-8570, as further described on page 3 of
                                                             this Information Packet and also in Item 9.(b) of the
                                                             Declarations.
                                                             Contacting any of the service providers listed in this
                                                             Information Packet shall not constitute notice under
                                                             the terms of the Policy.
                                                             As used in this Information Packet, the terms "we"
                                                             or "us" or have the same meaning as the term
                                                             "Underwriters" in the Policy and "you" has the same
                                                             meaning as the "Insured Organization" in the Policy.
                                                             Capitalized terms not defined in this Information
                                                             Packet have the same meaning as set forth in the
                                                             Policy.
                                                              .. .                                           ........................

                                                             Append
                                                             Experian IdentityWorks ' •
                                                             Equifax Complete"' Advantage Plan
                                                             Equifax Credit File ID AlertTM




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 Plantxltton Place South
 60 (,rats Tower Street
 London EC3R 5A0
 United Kingaorn
  T *44 40)20 7667 0623
  F +44 10)20 76/4 7100
            ......               .....

 39 Rattorson Park Roaa
 Farmington
 Connecticut 06032
 USA
  T *1 (860)6T7 3700
  F +1 (860) 679 0241
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  Pennsylvania. 19102


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  T +1 (415)263 4040
  F 4-1 (415) 263 4099




                                                                                                                                                                               beazley.com/bbr



    The descriptions contained in this communication are for preliminary informational purposes only. The product is available on an admitted basis in some but not all US jurisdictions through Beazley Insurance
    Company. Inc.. and is available on a surplus lines basis through licensed surplus lines brokers underwritten by Beezley syndicates at Uoyd's. The exact coverage afforded by the product described herein is
    subject to and governed by the terms and conditions of each policy issued. The publication and delivery of the information contained herein is not intended as a solicitation for the purchase of insurance on
    any US risk. Beazley USA Services, Inc. is licensed and regulated by insurance regulatory authorities in the respective states of the US and transacts business'In the State of California as Beazley Insurance
    Services (Licensee: 0055497). CBSL329_US_05/17




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         Experian's Credit solution ensures they have access to
                                                                                                                                                  Experian Highlights:
         progressive credit monitoring, identity restoration and
         identity theft insurance to help them regain their security.
         It notifies your customers when their personal information has been compromised
         and helps them resolve identity theft and other types of criminal activity sooner
         rather than later.
                                                                                                                                                    100%
                                                                                                                                                Success Rate Resolving
         Experian has managed thousands of data breach incidents in thefinance, education,
         commerce, medical and government sectors. We can manage yours.                                                                              Fraud Cases




           Features                                                                                       Credit                                    10C%
           Daily Credit Monitoring                                                                   1 or 3 Bureaus
                                                                                                                                                Score Received in Client
           Credit Report Upon Enrollment                                                                                                          Satisfaction Review

           Daily Credit Reports (Online)
           Identity Restoration

           Product Delivery Method
                                                                                                               ve
                                                                                                   Online (email)
                                                                                                  Off line (U.S. Mail)
                                                                                                                                                  3,000
           Enrollment (Phone and Online)                                                                                                        Data Breaches Serviced
           ExtendCARETM                                                                                                                                Annually


           Blanket Identity Restoration (Available Upon Notification)

           $1Million Identity Theft Insurance*




     .Identitytheft insurance Is underwritten by insurance company subsidiaries or of liatesof American International Group, Inc.(AIG).
     The description herein is a summary and intended for informational purposes only and does not include all terms. conditions and
     exclusions of the policies described. Please refer to the actual policies for terms. conditions. and exclusions of coverage. Coverage
     may not be available in all jurisdictions.                                                                                              Experian Data Breach Resolution



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     trademarks of Experian Information Solutions. Inc. Other product and company names mentioned herein may be the trademarks of
     their respective owners.                                                                                                                Call: 1 (866) 751-1323
                                                                                                                                             Email: databreachinfo@experian.com




                                                                                                                                                                       INT_BOJ_0000627
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         a.
        .experian




         Experian's Minor Plus provides comprehensive coverage
         when it comes to protecting a child's identity.                                                                                           Experian Highlights:

         Minor Plus provides monthly monitoring of Experian® information for every enrolled
         child, internet surveillance, identity restoration services and identity theft insurance
         from material damages that may occur against a child whose credit file is misused.
         It's an important benefit for your customers and an important opportunity for you.                                                          100          A
         Experian has managed thousands of data breach incidents in thefinance, education,                                                       Success Rate Resolving
         commerce, medical and government sectors. We can manage yours.                                                                               Fraud Cases




           Features                                                                                  Minor Plus                                     100%
           Minor Internet Surveillance
                                                                                                                                                 Score Received in Client
           Minor SSN Monitoring                                                                          1 Bureau                                  Satisfaction Review

           Identity Restoration
                                                                                                    Online (email)
           Product Delivery Method

           Enrollment (Phone and Online)
                                                                                                   Off line (U.S. Mail)
                                                                                                                                                   3,000
           ExtendCARETM                                                                                                                          Data Breaches Serviced
                                                                                                                                                        Annually
           Blanket Identity Restoration (Available Upon Notification)
           $1Million Identity Theft Insurance*




     * Identitytheft Insurance isunderwritten by Insurance company subsidiariesor affiliates of American IntemationalGroup. Inc. (AIG).
     The description herein is a summary and intended for informational purposes only and does not include all terms, conditions and
     exclusions of the policies described. Please refer to the actual policies for terms. conditions. and exclusions of coverage. Coverage   Experian Data Breach Resolution
     may not be available in all jurisdictions.



                                                                                                                                             Visit experian.com/data breach
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     registered trademarks of Experian Information Solutions. Inc. Other product and company names mentioned herein may be the
     trademarks of their respective owners.                                                                                                  Email: databreachinfo@experian.com




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         Experian's Identity and Identity Minor is the most cost-
         effective breach response solution available                                                                                               Experian Highlights:

         Identity and Identity Minor scours chat rooms, blogs, websites and other data
         sources to identify the illegal trading and selling of personal identities. Detect
         compromised personal information sooner, no matter where it occurs. Your
         members can also have peace of mind knowing our identity restoration agents and
         identity theft insurance are available to them if something were to happen.
                                                                                                                                                      100%
                                                                                                                                                 Success Rate Resolving
         Experian has managed thousands of data breach incidents in thefinance, education,                                                            Fraud Cases
         commerce, medical and government sectors. We can manage yours.




           Features                                                          Identity                 Identity Minor
                                                                                                                                                      100%
           Internet Surveillance                                                                                                                 Score Received in Client
           Minor Internet Surveillance                                                                                                             Satisfaction Review

           Identity Restoration
           Product Delivery Method

           Enrollment
                                                                                Online

                                                                                Online
                                                                                                                Online

                                                                                                                Online
                                                                                                                                                    3.J00
           ExtendCARETm                                                                                                                          Data Breaches Serviced
                                                                                                                                                        Annually
           Blanket Identity Restoration
           (Available Upon Notification)
           $1Million Identity Theft Insurance*




     * Identitytheft insurance is underwritten by insurance company subsidiariesoraffiliates of American International Group. Inc.(Alk.
     The description herein is a summary and intended for informational purposes only and does not include all terms. conditions and
     exclusions of the policies described. Please refer to the actual policies for terms. conditions. and exclusions of coverage. Coverage   Experian Data Breach Resolution
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                                                                                           CONSUMER INFORMATION SOLUTIONS




         Corporate Data Breach Solutions
         What is Credit Monitoring?

                                                      Equifax Canada Co. is Canada's largest credit reporting
                                                      agency. A credit reporting agency is an independent
     Equifax Cornplete-                               organization that receives information from credit
                                                      grantors and other (private and public) sources regarding
     Advantage Plan                                   individuals' credit activity. This information is compiled in
                                                      a credit report for each Consumer.
     key features                                     Your credit report is a summary of your credit history. Your credit report contains
                                                      information about your credit cards and loans, such as: when you opened your account,
      > Online access to view your                    account balance, payment history, etc. Your credit report also includes personal
                                                      information that is available in public records, such as a bankruptcy.
        Equifax credit report 24/7

      > Credit monitoring with                        What is Credit Monitoring?
        e-mail notification of key
        changes to your credit file                   Your credit report is updated regularly to reflect credit activity changes. Credit monitoring
                                                      allows you to have immediate visibility to changes in your credit report, providingyou with
                                                      the confidence that your credit identity is intact.
     > Updates of your Equifax
       credit report and score once
       everythree months                              Equifax CompleteTM Advantage Plan

     > Dedicated customer service                     As a consumer, you can take an active role in monitoring your personal credit information.
                                                      Using Equifax's online tool, you can view your credit file 24/7 and monitor any changes,
                                                      maintaining certainty that your credit score and identity have not been compromised.




                                                      For further information about Equifax Canada and protecting your identity,
                                                      please visit www.equifax.ca. You can also visit the Financial Consumer
                                                      Agency of Canada at www.fcac-acfc.gc.ca to learn more about credit
                                                      reporting agencies.

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                                                                                          CONSUMER INFORMATION SOLUTIONS




         Corporate Data Breach Solutions
         What is a Credit Alert Flag



     How will a Credit                                Equifax Canada Co. is Canada's largest credit reporting
     File Alert Flag                                  agency. A credit reporting agency is an independent
                                                      organization that receives information from credit
     protect me from                                  grantors and other (private and public) sources regarding
     potential fraud                                  individuals' credit activity. This information is compiled in
     activity?                                        a credit report for each Consumer.

                                                      Your credit file is a summary of your credit history. Your credit file contains information
     A Credit File Alert Flag is                      about your credit cards and loans. such as: when you opened your account account
                                                      balance. payment history. etc. Your credit file also includes personal information that
     one layer of identity theft
                                                      is available in public records. such as a bankruptcy
     protection. It provides peace
     of mind that your credit
     file has a warning system                        What is a Credit File Alert Flag?
     for credit lenders should
                                                      A credit file alert flag is a narrative description that is placed on your credit file. This
     anyone fraudulently try to                       flag alerts credit grantors that the individual's personal identification may have been
     seek credit in your name.                        compromised. Credit grantors willthen need to takefurther precautionsto verifythe identity
                                                      of the person seeking credit. This may take the form of requiring the credit seeker to
                                                      apply in person rather than over the phone or web. provide photo ID. or answer additional
                                                      authentication questions. It is at the discretion of the lending institution's authentication
                                                      protocol processes as to what steps they will take.


                                                      A Credit File Alert Flag stays on your credit file for a period of six years and it does NOT
                                                      affect your credit score in any way. You have the option to choose to have it removed at
                                                      anytime within the six years by calling Equifax Canada at 1-800-465-7166.




                                                      For further information about Equifax Canada and protectingyour identity,
                                                      please visit www.equifax.ca. You can also visit the Financial Consumer
                                                      Agency of Canada at www.fcac-acfc.gc.ca to learn more about credit
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